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               IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
                          WACO DIVISION

SOVEREIGN PEAK                         §
VENTURES, LLC,                         §
    Plaintiff,                         §
                                       § CASE NO. 6:22-cv- 1273
v.                                     §
                                       §
TP-LINK CORPORATION                    § JURY TRIAL
LIMITED f/k/a TP-LINK                  §
INTERNATIONAL LTD.                     §
     Defendant.

                     COMPLAINT AND JURY DEMAND

      Plaintiff Sovereign Peak Ventures, LLC (“SPV”) brings this action against

TP-Link Corporation Limited formerly known as TP-Link International Ltd. (“TP-

Link”) for infringement of U.S. Patent Nos. 7,796,512, 8,045,531, 8,270,384,

8,902,871, 9,357,441, and 10,039,144 and alleges the following:

                                 THE PARTIES
      1.    Plaintiff, Sovereign Peak Ventures, LLC, is a Texas Limited Liability

Company with its principal place of business in Allen, Texas.

      2.    Defendant TP-Link Corporation Limited is a private limited company

organized under the laws of Hong Kong, with its principal place of business

located at Suite 901, 9/F., New East Ocean Centre, 9 Science Museum Road, Tsim

Sha Tsui, Kowloon, Hong Kong.

      3.    In 2020, TP-Link International Ltd. changed its name to TP-Link
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Corporation Limited.

      4.     According to its corporate profile published on its website (available

at https://www.tp-link.com/hk/about-us/corporate-profile/), TP-Link was founded

in 1996 and is ranked as “the No. 1 provider of Wi-Fi devices for a consecutive 11

years, supplying distribution to more than 170 countries . . ..” TP-Link supplies a

full range of products to customers in the United States.




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        5.     TP-Link Corporation Limited may be served with process at its

primary office location at Suite 901, New East Ocean Centre, Tsim Sha Tsui, Hong

Kong.

                           JURISDICTION AND VENUE
        6.     SPV brings this action for patent infringement under the patent

laws of the United States, namely 35 U.S.C. §§ 271, 281, and 284-285, among

others. This Court has subject-matter jurisdiction pursuant to 28 U.S.C. §§ 1331

and 1338(a).

        7.     TP-Link is subject to this Court’s specific and general personal

jurisdiction pursuant to the Texas Long-Arm Statute and consistent with due

process, in view of its substantial business in Texas and in this judicial district

including: (a) its infringing activities alleged in this complaint by which

Defendant purposefully avails itself of the privilege of conducting business

activities in this state and district, and thus, submits itself to the jurisdiction of this

Court; and (b) regularly doing or soliciting business, contracting with and

engaging in other persistent conduct targeting residents of Texas and this district,

or deriving substantial revenue from goods and services offered for sale, sold,

and imported to and targeting residents of Texas and this district directly and

through or in concert with intermediaries, agents, distributors, importers,

customers, subsidiaries and/or consumers. See https://www.tp-link.com/us/where-



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to-buy/.

       8.     TP-Link’s presence and conduct directed to residents of Texas and

into this district is intended to further and advance the development, design,

manufacture, importation, distribution, sale, and use (including by inducement) of

infringing TP-Link products in Texas and in this district.

       9.     Venue is proper in this judicial district pursuant to 28 U.S.C. §§

1391(c)(3) which provides that “a defendant not resident in the United States may

be sued in any judicial district.”

       10.    TP-Link transacts business in this judicial district and has committed

acts of infringement in this judicial district.

       11.    TP-Link directly or through intermediaries, make, use, offer for sale,

import, sell, advertise, or distribute products and services in the United States, the

State of Texas, and in this district.

       12.    TP-Link advertises its products to residents in Texas and in this

district via its website: www.tp-link.com.

       13.    TP-Link conducts its business of marketing, distributing, deploying,

and selling products and services in Texas and in this district through its agents,

representatives, affiliates, related entities, partners, distributors, and retailers.

       14.    TP-Link continuously and systematically solicits business and

contracts with residents of Texas and this district.



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        15.   By way of example, and as a predicate for access and use, TP-Link

requires end users, customers, and subscribers to enter a written contract

containing certain terms and conditions governing their access and use of TP-

Link’s mobile applications including the TP-Link Deco and TP-Link Omada App,

Kasa Smart Home app, the TP-Link Camera app, the TP-Link Vigi app, and TP-

Link’s Tapo app.

        16.   This Court has personal jurisdiction over TP-Link, directly and/or

indirectly via the activities of TP-Link and its intermediaries, agents, related

entities, affiliates, distributors, importers, customers, subsidiaries, or consumers.

Alone and in concert with these entities, TP-Link has committed acts of direct

and/or indirect patent infringement within Texas, and elsewhere within the United

States, giving rise to this action and/or has established minimum contacts with

Texas.

TP-Link Maintains a Sales Network and Channels for Selling and
Distributing into the United States and Texas.

        17.   TP-Link maintains a global network of sales and distribution channels

for selling TP-Link products. See Choose Your Location, available at

https://www.tp-link.com/us/choose-your-location/.

        18.   TP-Link’s global network includes retail stores and distributors

operating in Texas and in this district. See https://www.tp-link.com/us/where-to-

buy/.

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      19.   TP-Link directs and controls the acts of its affiliates and related

entities in the manufacture, shipment, importation, and distribution of TP-Link

products into and within the United States.

TP-Link Registers its Products with the U.S. Federal Communications
Commission to Sell in the United States.

      20.   To sell them in the United States, TP-Link applied for and obtained

registrations for certain TP-Link products from the United States Federal

Communications Commission (FCC). See https://fccid.io/2AXJ4X50POE

      21.   In its application and disclosure to the FCC, TP-Link identified itself

as the responsible manufacturing party of TP-Link products intended for the

domestic market and for use by United States residents. See https://fcc.report/

FCC-ID/2AXJ4P9V2/; and https://fcc.report/FCC-ID/2AXJ4P9V2/5079229

      22.   TP-Link identified itself as “Grantee” for a non-transferrable

“equipment authorization” from the FCC for the sale of certain TP-Link products

in the United States. See https://fccid.io/2AXJ4E4RV3 and https://fcc.report/

FCC-ID/2AXJ4P9V2/5079229.




      23.   Under the authority of the FCC, TP-Link sought and received

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authorization for “equipment for operation at approved frequencies and sale within

the USA.” See FCC Grant of Equipment Authorization Certification for TP-Link,

available at https://fccid.io/2AXJ4E4SV3.

         24.   TP-Link’s FCC product registrations include certain TP-Link Deco

Mesh devices and business EAPs enabled for 802.11k/r: AC1200 (https://

fccid.io/2AXJ4E4SV3); Whole Home Mesh Wi Fi 6 System Models AX1800

(https://fccid.io/2AXJ4X20V2); AX3000 (https://fccid.io/2AXJ4X50POE);

AC2200 (https://fccid.io/2AXJ4M9PLUSV2); AX3600 (https://fccid.io/

2AXJ4EAP660HD); AX6600 (https://fccid.io/2AXJ4X90); and AXE5400

(https://fccid.io/2AXJ4XE75).




https://fccid.io/2AXJ4XE75

         25.   TP-Link is listed on the labels of its products as the manufacturing

party.




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https://fccid.io/2AXJ4XE75/Label/Label-and-Label-Location-5654084




https://fccid.io/2AXJ4EAP660HD/Label/Confidential-EAP660-HD-label-5853893

      26.   TP-Link certifies that its products comply with all necessary FCC

requirements governing usage in the U.S. See e.g., https://fccid.io/2AXJ4E4SV3/

Letter/Deco-E4S-FCC-Declaration-of-Conformity-6190845; https://fccid.io/


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2AXJ4E4SV3/Letter/Deco-E4S-FCC-Declaration-of-Conformity-6190845; and

https://fccid.io/2AXJ4X50POE/Letter/Deco-X50-POE-FCC-Declaration-of-

Conformity-Rev01-6195755.




https://fccid.io/2AXJ4E4SV3/Letter/Deco-E4S-FCC-Declaration-of-Conformity-


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6190845

      27.    TP-Link certifies compliance with FCC requirements in order to sell

TP-Link products in the United States.

TP-Link Designs and Packages Products for Sale in the United States.

      28.    TP-Link designs and packages the accused products specifically for

the United States market. For example, TP-Link includes with the accused

products sold in the United States power cords and electrical plugs compatible with

United States power outlets. TP-Link knowingly and intentionally directs

distribution of such products into the United States.

      29.    TP-Link product packaging features branding that includes its name

and copyright.




      30.    TP-Link includes written notices to U.S. customers in product



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packaging that direct U.S. residents to ask TP-Link about its GNU General Public

Licenses at TP-Link’s Hong Kong address.




      31.   TP-Link includes English-language product manuals in its products

along with the TP-Link logo and instructions to access the TP-Link apps (e.g.,


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Omada, Deco App).




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      32.   TP-Link includes on its U.S.-bound product packaging QR codes

providing links directing customers in Texas and throughout the United States to

TP-Link’s website (www.tp-link.com).




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       33.    As part of its global manufacturing and distribution network, TP-Link

purposefully places infringing TP-Link products into established distribution

channels in the stream of commerce, including in Texas, via distribution partners,

retailers (including national retailers), reseller partners, affiliates, related entities,

solution partners, service providers, consumers, and other users.

TP-Link Purposefully Directs Sales Activities to Residents of Texas and this
District Through Its TP-Link Website and Sales Channels.

       34.    TP-Link operates the www.tp-link.com website.

       35.    The TP-Link website provides United States customers with sales and

product information, including referring links and directions on how to purchase

TP-Link products in the United States, in Texas, and in this district.

       36.    TP-Link holds the copyright registrations corresponding to TP-Link’s


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websites. See https://www.tp-link.com/us/; https://www.tp-link.com/us/where-to-

buy/; https://www.tp-link.com/us/omada-sdn/; https://www.tp-link.com/us/deco-

mesh-wifi/; and https://www.tp-link.com/us/business-networking/all-switch/.




      37.    TP-Link controls the content of its website, gathers consumer

information through it, and controls how such information is utilized. For

example, TP-Link and its affiliates are listed as the responsible parties for the TP-

Link privacy policy. See https://www.tp-link.com/us/about-us/privacy/#sec_a.

      38.    TP-Link’s Privacy Policy provides that “TP-Link Corporation

Limited, and its affiliates (collectively, “TP-Link,” “we” “us,” or “our”), takes

your privacy seriously. TP-Link provides (1) TP-Link branded hardware,

firmware, and software products (“Products”), (2) website(s) that may be accessed

at https://www.tp-link.com/us/ and http://www.kasasmart.com and

https://www.vigi.com (“Sites”), (3) services, including on and through the

Products, and technical support and services accessible through the Site(s) (“Web

Apps”) (4) software that may be downloaded to your smartphone or tablet to

access services (“Mobile App”), and (5) subscription services, including services

that can be accessed using the Web Apps and Mobile Apps (“Subscription

Services”). The term “Services” means the Sites, Web Apps, Mobile Apps, and



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Subscription Services, which may be used in conjunction with Products and in

other ways provided by TP-Link.” https://www.tp-link.com/us/about-us/privacy/

#sec_a




      39.    TP-Link represents on its website that the TP-Link hardware products,

websites including https://ww.tp-link.com/us/, technical support and services

accessible through the TP-Link websites, and software downloaded to the users

smartphone or tables to access services and subscription services (collectively

referred to by TP-Link as “Services”) are provided by TP-Link located at Suite

901, New East Ocean Centre, Tsim Sha Tsui, Hong Kong, its affiliates and

subsidiaries. https://www.tp-link.com/us/about-us/privacy/#sec_b.




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https://www.tp-link.com/us/about-us/privacy/#sec_b.

      40.    TP-Link provides specifications, user manuals, installation videos,

and other technical support documents for certain referenced products on its

website. See http://www.tp-link.com/us/support.

      41.    TP-Link ships products (including the accused products) to its affiliate

TP-Link USA. Accused TP-Link products are currently sold at major retailers in

Texas and in this district including Target and Home Depot stores.

      42.    TP-Link’s website directs customers to purchase accused products

from its website (i.e., “Where to Buy”) and through its store, online stores,

distribution partners, retailers, reseller partners and solution partners. For example,

TP-Link lists and includes referring links to retailers that sell TP-Link products in

this district including Target, Amazon, Office Depot, Best Buy, Home Depot, and



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others.




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https://www.tp-link.com/us/where-to-buy/.

       43.   TP-Link’s website has a store locator feature, and direct consumers

including those in Texas where to buy TP-Link products.




Id.

       44.   TP-Link sells its products in the United States and to residents in

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Texas and this district through the TP-Link Store, Online Stores, Distribution

Partners, Retailers, Reseller Partners, and Solution Partners.

      45.    TP-Link’s Solution Partners include Solution Partners that are located

and sell in Texas (e.g., wire2wifi, IPacket Networks). TP-Link Solution Partners

wire2wifi and IPacket Networks support and sell TP-Link products in Texas.




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https://www.wire2wifi.com/contact-us.html; and https://www.ipacketnet.com/.

      46.   For example, TP-Link’s Solution Partner, wire2wifi, is headquartered

in Houston, Texas and sells TP-Link accused products. TP-Link’s Solution

Partner, wire2wifi, also provides network design and installation, 24/7 support and


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proactive monitoring to customers in Texas. See https://www.wire2wifi.com/wifi-

services.html.




https://www.wire2wifi.com/wifi-products.html.

      47.    Through its website, TP-Link provides weblinks to distributors (i.e.,

referring links) and directs consumers where to purchase TP Link products

(including the Accused Products). See https://www.tp-link.com/us/where-to-buy/.

      48.    TP-Link introduced its products (including Accused Products) at

Target stores in the United States, in Texas, and in this district. TP-Link promoted

its partnership with Target and directed its customers to purchase TP-Link products

from Target stores including locations in Texas and this district.




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https://www.tp-link.com/us/press/news/19198/.

        49.   TP-Link identifies its Hong Kong entity as associated with the Target

sales channel.




https://www.tp-link.com/us/press/news/19198/.

        50.   TP-Link’s advertisement and promotion of its products at Target is

directly linked to its Hong Kong entity founded in 1996 and not its US affiliate

(TP-Link USA Corporation). TP-Link’s affiliate US entity was not founded until

2008.

        51.   TP-Link directs Texas customers to purchase TP-link products at

physical store locations in Texas. For example, TP-Link links to the Target

website (i.e., referring website) which sells the TP-Link AC1200 Dual Band Mesh

3-Pack (an accused product) in Texas and provides for pickup.




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https://www.target.com/p/tp-link-ac1200-dual-band-mesh-3-pack/-/A-79847622

?ref=&ref=OpsEmail_Order_572_Default%20OPU/DU%20B&j=185208&sfmc_s

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ub=499773374&l=20_HTML&u=133557433&mid=7284873&jb=10661.

      52.    TP-Link has sold and continues to sell accused TP-Link products

(e.g., TP-Link AC1200 Dual Band Mesh 3-Pack, AC1350, OC200) to customers in

Texas and in this district.

TP-Link Maintains Established Channels for Providing Pre- and Post-Sale
Advice to Customers in Texas.

      53.    TP-Link provides technical support to users of its products (including

applications) in Texas through its website, available at www.tp-link.com, and its

live chat and live agent support.




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https://livechat.tp-link.com/us/deco/

      54.    TP-Link provides technical support to its customers on its website

through its download center, support videos, FAQs, TP-Link Community, Contact

Technical Support, Replacement and Warranty, TP-Link Emulators, Compatibility

List, GPL Code Center, and Cloud Service Status tabs.




https://www.tp-link.com/us/support/

      55.    TP-Link provides contact information for users in Texas to access

Technical Support for their home and business products.




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https://www.tp-link.com/us/support/; and https://www.tp-link.com/us/support/

contact-technical-support/#LiveChat-Support.

      56.   TP-Link provides technical support to U.S. customers through access

to TP-Link emulators for the Accused Products (e.g.,the TP-Link EAP660) on TP-

Link’s support page. TP-Link allows users to experience the TP-Link product

management panel through these emulators for the Accused Products.



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https://www.tp-link.com/us/support/emulator/




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https://emulator.tp-link.com/eap_emulator_660/index.html

      57.   TP-Link provides to customers status information about its systems

including on TP-Link’s technical support website. See https://www.tp-

link.com/us/support/cloud-service-status/.

TP-Link Markets and Distributes Mobile Applications to Residents of Texas.

      58.   TP-Link makes, distributes, develops, and operates application

software, such as the TP-Link-branded Deco app, Omado app, Kasa app, Kasa

Smart app, Tapo app, tpCamera app, and Vigi app, making them available to

residents of Texas and this district for download and use in connection with TP-

Link products including cameras, Wi-Fi routers, and controllers.

      59.   The TP-Link applications are available via digital distribution


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platforms operated by Apple and Google.

      60.    TP-Link directs customers in the United States, in Texas, and in this

district to download its applications for use with TP-Link products.

      61.    TP-Link instructs customers in Texas and in this district to use the TP-

Link applications with TP-Link products. TP-Link includes such instructions in

the product packaging of its products that are sold in Texas and this district.




      62.    TP-Link provides instructions to customers in the United States, in

Texas, and in this district directing them to connect TP-Link cameras (e.g., Kasa

Pan and Tilt) with TP-Link Wi-Fi products (e.g., Deco M9 Plus) via the TP-Link


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Kasa App.




https://www.tp-link.com/us/support/faq/1957/.


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      63.    TP-Link promotes the use of its camera products with the TP-Link

Wi-Fi products in the United States, in Texas, and in this district. See https://

www.tp-link.com/us/support/faq/1957/.

TP-Link Contracts with Texas Residents and Compiles Data Through the TP-
Link Mobile Applications.

      64.    TP-Link requires end users (including those in Texas and in this

district) to enter a contract with TP-Link governing and permitting access and use

of the TP-Link mobile applications.

      65.    TP-Link requires end users to create an account (e.g., Omada

Account) through a registration process in TP-Link’s app.




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TP-Link Omada App.

      66.   TP-Link requires customers in the United States, Texas, and in this

district, to agree to TP-Link’s terms and conditions prior to using the TP-Link apps

(e.g., Omada app, Deco app).

      67.   The TP-Link terms of use specify that they apply to the services

provided by TP-Link Corporation Limited and “are a binding contract between [the

end user] and TP-Link (the “Agreement”).” TP-Link Terms of Use.




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TP-Link Terms of Use.

        68.   TP-Link requires its customers in the United States, in Texas, and in

this district to enter a contract with TP-Link, which identifies itself at its Hong

Kong address, to use the TP-Link applications (e.g., TP-Link Deco App, Terms of

Use).




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TP-Link Terms of Use.


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TP-Link Configures Products for Operation in the United States.

      69.   TP-Link configures its products for operation in the United States.

      70.   Eleven of the thirteen available Wi-Fi channels are permitted for use

in the United States. Channels twelve and thirteen are permitted in certain other

countries but not in the U.S. Before selling products in the United States, TP-Link

certifies to the FCC that the accused products only operate in channels one through

eleven. https://fcc.report/FCC-ID/2AXJ4C64/5212348.




https://fcc.report/FCC-ID/2AXJ4C64/5212348.



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TP-Link Purposefully Directs Sales Activities to Residents of Texas Through
Advertising.

      71.   TP-Link markets its products to U.S. consumers through its website.

See www.tp-link/com/us.

      72.   TP-Link markets its products to consumers in the United States

through social media.

      73.   TP-Link recruits “TP-Link Brand Ambassadors” as part of its “Power

User” program. TP-Link’s Brand Ambassadors are consumers and users of TP-

Link products recruited in the U.S. based upon their social media presence and

their use of TP-Link products. See https://www.tp-link.com/us/brandambassador/.




https://www.tp-link.com/us/brandambassador/


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      74.   TP-Link recruits Brand Ambassadors (i.e., “influencers”) and

“team[s] up” with them to promote and market TP-Link products. See

https://www.tp-link.com/us/brandambassador/

      75.   TP-Link Brand Ambassadors are compensated for promoting TP-Link

products on social media and participating in marketing campaigns.

      76.   TP-Link Brand Ambassadors post content on social media (including

unboxing videos) to promote TP-Link products.




https://www.instagram.com/p/B1q1G3KHa-9/?hl=en.




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https://www.tiktok.com/discover/tp-link-official?lang=en

      77.    TP-Link marketed its products in the United States at the CES

convention in 2022. See https://www.tp-link.com/us/press/news/19853/.

TP-Link Registered U.S. Trademarks Used to Promote Products in Texas and
Throughout the United States.

      78.    TP-Link has registered trademarks in the United States, including

trademarks used with the accused products (e.g., TP-Link Omada). TP-Link is

listed as the owner.




https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4810:aauhru.2.3




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https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804:e7l2ym.2.2




https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4803:nj3ypp.2.4

       79.    To obtain a trademark, TP-Link had to declare that the mark is used in

commerce in the United States.

TP-Link’s Activities Directed into Texas and this District Give Rise to SPV’s
Claims.

       80.    SPV’s claim for infringement arise out of or relates to TP-Link’s

activities in Texas and this district.

       81.    TP-Link’s websites, mobile applications, affiliates, related entities,

distributors, and retailers (including retailer physical stores) make up TP-Link’s

intertwined omnichannel sales strategy for the sale of TP-Link products in the

United States, in Texas, and in this district.

       82.    Through the TP-Link website, mobile applications, and

distributor/retailer physical stores, TP-Link intends to serve Texas residents and

has increased sales in Texas and this district.

       83.    TP-Link’s marketing and sales strategy is intentional and designed to

increase sales of TP-Link products (including products accused of infringement) in


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Texas and in this district.

       84.    TP-Link does not limit distribution of its products or services to

exclude Texas residents. Nor has TP-Link changed or sought to change the

functionality of its products and applications to operate in a non-infringing way in

Texas or this district.

       85.    TP-Link has taken no action to limit its advertisement or sales in

Texas. TP-Link has not refused to sell or ship its products to Texas customers or

blocked access to TP-Link applications for Texas customers.

       86.    TP-Link, alone and in concert with its affiliates, distributors, retailers,

and related entities, has purposefully directed its activities at Texas and should

reasonably anticipate being named as a defendant in this Court on this basis.

       87.    This Court has personal jurisdiction over TP-Link, directly and/or

through the activities of TP-Link’s intermediaries, affiliates, distributors, retailers,

importers, and related entities. Through its own conduct and through direction and

control of these entities, TP-Link has committed acts of direct and/or indirect

patent infringement within Texas, and elsewhere within the United States, giving

rise to this action and/or has established minimum contacts with Texas such that

personal jurisdiction over TP-Link would not offend traditional notions of fair play

and substantial justice.

TP-Link is Subject to Personal Jurisdiction in this Court Under Federal Rule
of Civil Procedure 4(k)(2).

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      88.      In the alternative, the Court has personal jurisdiction over TP-Link

under Federal Rule of Civil Procedure 4(k)(2), because the claims for patent

infringement in this action arise under federal law; TP-Link is not subject to the

jurisdiction of the courts of general jurisdiction of any state; and exercising

jurisdiction over TP-Link comports with due process under the U.S. Constitution.

  THE SOVEREIGN PEAK VENTURES PATENTS AND HOW TP-LINK
                    INFRINGES THEM
      89.      SPV owns a portfolio of patents invented by employees of Panasonic

Corporation. Since its founding in 1918, Panasonic has been at the forefront of the

electronics industry for over a century. Since acquiring the Panasonic portfolio,

SPV has promoted adoption of technologies claimed in the Panasonic portfolio and

has entered into license agreements with numerous companies.

      90.      Over the years, Panasonic has innovated in the home appliance,

battery, mobile phone, and television industries. Panasonic’s invention of the

“Paper Battery” in 1979 is widely credited as enabling the compact electronics of

today. In 1991, Panasonic released the Mova P, the smallest and lightest mobile

phone on the market, which revolutionized the industry by demonstrating the

public’s demand for a compact, lightweight device. Panasonic also produced the

first wide-format plasma display and developed the first digital television for the

U.S. market.



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      91.   Panasonic’s history of innovation is borne out by its intellectual

property. Searching the Patent Office’s database for Panasonic as patent assignee

yields more than 27,000 matches.

      92.   Marking its centennial in 2018, Panasonic opened the Panasonic

Museum to showcase its history of design philosophy and innovation.




TP-LINK INFRINGES U.S. PATENT NUMBER 7,796,512.
      93.   The Patent Office issued U.S. Patent No. 7,796,512, titled “Switching

Source Device, Switching Destination Device, High Speed Device Switching

System, and Signaling Method,” on September 14, 2010, after a thorough

examination and determination that the subject matter claimed is patentable.

      94.   TP-Link Accused Products with respect to the ’512 patent include TP-

Link Deco Mesh devices and business EAPs enabled for 802.11k/r. By way of



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example, specific TP-Link Accused products include:

        802.11ac Whole Home Mesh Wi Fi 6 System Models AX1800 and

             AX3000;

        802.11ac Whole Home Mesh Wi Fi System Model AC1200;

        802.11ac Smart Home Mesh Wi Fi System Model AC2200;

        802.11ac Tri Band Mesh Wi Fi 6/6E System Models AX3600, AX6600,

             AXE5400, and AX5700;

        802.11ac Dual Band Hybrid Mesh Wi Fi Systems: AC1300 and AV600;

        802.11ac Whole Home Powerline Mesh Wi Fi System AV1000;

        802.11ac Omada EAPs: EAP670, EAP660 HD, EAP650, EAP620 HD,

             EAP610, EAP265 HD, EAP245, EAP225, EAP115, EAP110, EAP615

             Wall, EAP235 Wall, EAP230 Wall, EAP225 Wall, EAP115 Wall,

             EAP610 Outdoor, EAP225 Outdoor, and EAP110 Outdoor.

       95.     The Accused TP-Link APs are switching source devices that assist

connected clients with roaming to a switching destination device (a destination

AP).




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      96.    The Accused TP-Link APs support 802.11k/r:




https://static.tp-link.com/upload/product-

overview/2022/202203/20220307/EAP%20Datasheet.pdf.

      97.    TP-Link Accused APs supporting 802.11k/r operate as switching

source devices for moving a session with connected clients to switching destination

devices or APs.




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      98.   TP-Link Accused APs include a service discovery section for

obtaining information used to compile a neighbor report:




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      99.   Accused TP-Link APs include a service discovery section for

obtaining information about neighboring communication devices from

measurement reports or background scans. For example, TP-Link APs perform

load balancing and band steering operations among clients and other APs:




https://www.tp-link.com/us/support/faq/1336/; and https://www.tp-

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link.com/us/support/faq/1337/.

       100. TP-Link Accused APs instruct their respective service discovery

sections to inquire whether a service can be provided by requesting beacon reports

from connected clients at arbitrary times:




       101. TP-Link Accused APs determine switching destination candidate APs

using information obtained by the service discovery sections. The determination

may be made based upon the BSSID of a known AP or information relating to

settings and capabilities of an AP.




       102. The Accused TP-Link APs generate a switching destination candidate

device list (e.g., a neighbor list) describing the switching destination candidate

APs:


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      103. The Neighbor Report element for each neighbor contains the AP

BSSID, which the Accused TP-Link APs use to establish a Fast Transition session

with that AP:




      104. In normal operation of exemplary TP-Link Accused APs, the Source



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AP establishes a session, either over the air or over the distribution system, with a

destination candidate device or target AP.




      105. TP-Link Accused APs include an input section for receiving a

switching destination candidate device list (e.g., the Neighbor Report) request from

connected users’ devices:




      106. TP-Link Accused APs include an output section for presenting the

Neighbor Report to a connected client in response to a neighbor report request:




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      107. In normal operation of the Accused TP-Link APs, when an AP

receives a switching request (e.g., an FT Action Request) from a user device, the

TP-Link AP sends a RemoteRequest to the Target AP:




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      108. The RemoteRequest message contains a switching instruction

including, for example, instructions for the robust security network (RSN)

association:




TP-LINK INFRINGES U.S. PATENT NUMBER 8,045,531.
      109. The Patent Office issued U.S. Patent No. 8,045,531, titled “System

and method for negotiation of WLAN entity,” on October 25, 2011, after a

thorough examination and determination that the subject matter claimed is

patentable.

      110. TP-Link Accused Products with respect to the ’531 patent include the

TP-Link Omada WiFi system comprising, by way of example, TP-Link Omada

OC200 and OC300 controller devices that interface with TP-Link Omada APs to

provide WLAN service:


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      111. Accused TP-Link WiFi Systems comprise one or more Omada APs

(WAPs) managed by an Omada Controller including, without limitation, Omada

APs identified at https://www.tp link.com/us/business networking/all

omada/#omada-acces-points such as TP-Link Access Points Models EAP660 HD,

EAP620 HD, EAP610, EAP265 HD, EAP245, EAP225, EAP115, EAP110,

EAP615 Wall, EAP235 Wall, EAP230 Wall, EAP225 Wall, EAP115 Wall,

EAP225 Outdoor, and EAP110 Outdoor.




See, e.g., https://static.tp-link.com/upload/product-overview/2022/202204/

20220418/Controller%20Datasheet.pdf.




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      112. In the Accused TP-Link Systems, WLAN functionality is distributed

among the Omada controller devices and the Omada APs. For example, Omada

APs are configured by an Omada controller to implement (process) certain client-

facing WLAN functions including, for example, Airtime Fairness, Band Steering,

and Seamless Roaming and Omada Mesh functions that are a subset of

functionality defined for the WLAN.




https://static.tp-link.com/upload/product-overview/2022/202203/

20220307/EAP%20Datasheet.pdf.

      113. TP-Link Accused Systems comprise one or more control nodes (e.g.,

Omada controller devices, OC200 and OC300) with pre-installed Omada controller

software.



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https://www.tp-link.com/us/business-networking/omada-sdn-controller/oc200/; and

https://www.tp-link.com/us/business-networking/omada-sdn-controller/oc300/.

      114. In the TP-Link Accused Systems, WLAN functionality is distributed

among the Omada controller devices (531 CN) and the Omada APs. For example,

Omada controller devices provide certain network-facing WLAN functions that are

a subset of functionalities defined for the WLAN. Functions include, without

limitation, providing access to network management through a cloud service,

gathering and reporting network statistics and insights, adjusting channel settings

and transmission power of the APs, and configuring and managing a management



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VLAN):




https://www.tp-link.com/us/omada-sdn/

      115. The Accused TP-Link Systems provide for configuring and managing

a management VLAN:


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https://www.tp-link.com/us/support/faq/2814/

      116. In normal operation of the TP-Link Accused Systems. Omada APs

convey their capabilities to an Omada controller that utilizes this information to

configure the network and establish a secure session. Discovery/response

signaling occurs in part via a WAP negotiation unit:




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https://www.tp-link.com/us/configuration-guides/introduction-of-eap-adoption/

?configurationId=22336#discovering_2_1




https://www.tp-link.com/us/configuration-guides/introduction-of-eap-adoption/

?configurationId=22336#establishing_and_configuring_2_2

      117. A Omada AP’s negotiation unit dynamically negotiates with the CN

for a secure connection and function split arrangement in transition statuses

Provisioning and Configuring.

      118. The CN responds to discovery and connection request messages from

the APs and delivers configurations to the APs during adoption.

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https://www.tp-link.com/us/configuration-guides/introduction-of-eap-adoption/

?configurationId=22336#transition_statuses_1_3; and

https://www.tp-link.com/us/configuration-guides/introduction-of-eap-adoption/

?configurationId=22336#establishing_and_configuring_2_2.

      119. TP-Link CNs provide complimentary functionality for the APs by, for

example, managing AP provisioning, configuration, and operation. Network-wide




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management functionality and AP-specific operational functionality (e.g. running a

specific config, specific firmware, etc) forms complete WLAN functionality.

https://static.tp-link.com/manual/2021/202107/20210714/1910013060-

Omada%20SDN%20Controller%20User%20Guide.pdf

      120. TP-Link CNs also provide complimentary functionality for APs by,

for example, managing the use Load Balancing and QoS on APs to form a

complete functionality defined for the WLAN.




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Id.

       121. Additional TP-Link Accused Products with respect to the ’531 patent

include the TP-Link Systems featuring TP-Link APs and TP-Link access

controllers (ACs including, for example, TP-Link AC50 and AC500 wireless

controllers) that support configuration using the CAPWAP protocol to provide

service in a WLAN:




https://www.tp-link.com/in/press/news/17332/

       122. TP-Link APs support configuration using the CAPWAP protocol:




Id.



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      123. TP-Link APs and ACs support configuration using the CAPWAP

protocol to provide service in a WLAN. TP-Link ACs manage one or more TP-

Link APs.




https://tools.ietf.org/html/rfc5415

      124. In Accused TP-Link Systems, WLAN functionality is distributed

among the ACs and APs in the network. TP-Link ACs manage one or more TP-

Link APs.




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Id.

       125. Through the discovery process, TP-Link APs convey their capabilities

to an AC, which utilizes this information to configure the network and establish a

secure DTLS session.




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Id.

       126. For example, the TP-Link System network may be set up with one of

two modes of encapsulation: 802.3 or native wireless.




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Id.

       127. The Accused TP-Link ACs provide complimentary functionality for

APs by, for example, performing the 802.11 integration function if split MAC

mode is utilized.




Id.

TP-LINK INFRINGES U.S. PATENT NUMBER 8,270,384.
       128. The Patent Office issued U.S. Patent No. 8,270,384, titled “Wireless

Point that Provides Functions for a Wireless Local Area Network to be Separated

Between the Wireless Point and One or More Control Nodes, and Method for

Providing Service in a Wireless Local Area Network Having Functions Separated

Between a Wireless Point and One or More Control Nodes,” on September 18,



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2012, after a thorough examination and determination that the subject matter

claimed is patentable.

      129. TP-Link Accused Products with respect to the ’384 patent include the

TP-Link Omada WiFI system comprising, by way of example, TP-Link Omada

OC200 and OC300 controller devices that interface with TP-Link Omada APs to

provide WLAN service:




https://static.tp-link.com/manual/2021/202107/20210714/1910013060-

Omada%20SDN%20Controller%20User%20Guide.pdf.

      130. Accused TP-Link WiFi Systems include an Omada Software Defined



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Networking (SDN) and comprise one or more Omada APs (WAPs) managed by an

Omada Controller including, without limitation, Omada APs identified at

https://www.tp-link.com/us/business-networking/all-omada/#omada-acces-points

such as TP-Link Access Points Models EAP660 HD, EAP620 HD, EAP610,

EAP265 HD, EAP245, EAP225, EAP115, EAP110, EAP615 Wall, EAP235 Wall,

EAP230 Wall, EAP225 Wall, EAP115 Wall, EAP225 Outdoor, and EAP110

Outdoor.

      131. The Accused TP-Link Accused Systems include a separation between

the AP functions and control node functions. For example, control nodes perform

network-facing functions while APs perform client-facing functions. Additionally,

control nodes perform network wide WLAN management functions while APs

perform AP-specific operational functions.




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https://static.tp-link.com/upload/product-overview/2022/202204/

20220418/Controller%20Datasheet.pdf

      132. Omada controller devices running Omada controller software (each a

control node) provide network wide management functionality, and the APs

provide separate AP-specific operational functionality. Accordingly, the APs

additionally “provide[] for functions for a wireless local area network to be

separated between said wireless point and one or more control nodes.”




https://www.tp-link.com/us/omada-sdn/.




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See also https://www.tp-link.com/us/business-networking/omada-sdn-

controller/omada-cloud-based-controller/; and https://www.tp-

link.com/us/business-networking/omada-sdn-controller/omada-software-



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controller/.

      133. The Omada controllers also provide complimentary functionality for

the APs. One example such functionality is managing the use of e.g. Load

Balancing and QoS on the APs-this network wide management functionality

forming a complete WLAN functionality with the AP-specific operational

functionality (e.g. running 802.llk/r, Airtime fairness, band steering).




https://static.tp-link.com/manual/2021/202107/20210714/1910013060-

Omada%20SDN%20Controller%20User%20Guide.pdf

      134. In an Accused Omada WiFi system, the discovery unit of an Omada

AP sends (via broadcast) a discovery request message to Omada controller devices

(said one or more control nodes) on the AP’s network through port 29810. The

discovery request messages are sent during the Omada AP discovery and adoption

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signaling process.




https://www.tp-link.com/us/configuration-guides/introduction-of-eap-

adoption/?configurationId=22336#discovering_2_1




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Id.

       135. The Accused Omada APs select an Omada controller (one control

node) based on a received discovery response message from the controller, or from

the Omada Discovery Utility on the AP's layer 2 network. For example, during the

Omada AP adoption process, the AP selects the Omada controller (control node)

based on a discovery response message received from the Omada Discovery

Utility, informing the AP of a candidate Omada controller and the IP address of the

controller.




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Id.

       136. The discovery response message sent by the control node includes

security related information that is used by the Omada AP (wireless point) during

the adoption process (i.e. to “select one control node”). The discovery response

message sent by the control node includes information identifying the control node

model to determine compatibility by the Omada AP. The discovery response

message includes the IP address for establishing a connection between the AP and

the control node upon selection by the AP.




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Id.

       137. If the Omada AP receives a discovery response message from the

Omada Discovery Utility identifying an Omada controller on a different subnet,

the Omada AP will receive an additional discovery response message from the

Omada controller identified by the Omada discovery utility. Additionally, the

discovery response message received from an Omada controller on a different

subnet from the Omada AP includes similar information about functions offered by

the controller as the example where the controller is on the same subnet as the AP.




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Id.

       138. During the adoption process the Omada AP establishes a secure

session with the chosen control node.




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https://www.tp-link.com/us/configuration-guides/introduction-of-eap-

adoption/?configurationId=22336#establishing_and_configuring_2_2

      139. The session establishing unit establishes the secure session while the

AP status is “Provisioning.”




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https://www.tp-link.com/us/configuration-guides/introduction-of-eap-

adoption/?configurationId=22336#transition_statuses_1_3

      140. After the secure session is established, a negotiation unit exchanges

information with the Omada controller about the functions to be separated between

the controller and the AP.




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https://www.tp-link.com/us/configuration-guides/introduction-of-eap-

adoption/?configurationId=22336#establishing_and_configuring_2_2

      141. The negotiation unit exchanges information about the functions to be

separated while the AP status is “configuring.”




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https://www.tp-link.com/us/configuration-guides/introduction-of-eap-

adoption/?configurationId=22336#transition_statuses_1_3

      142. Additional TP-Link Accused Products with respect to the ’384 patent

include the TP-Link Systems featuring TP-Link APs (including, for example,

CAP300/CAP1200/CAP1750 APs and 300 Mbps Wireless N Outdoor AP

CAP300-Outdoor) that support configuration using the CAPWAP protocol to

provide service in a WLAN.

      143. TP-Link APs support configuration using the CAPWAP protocol:




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See also https://www.tp-link.com/res/images/vi/cap/index.html; https://www.tp-

link.com/us/business-networking/desktop-access-point/cap300/; and

https://www.tp-link.com/us/business-networking/desktop-access-point/cap1750/.




https://www.tp-link.com/in/press/news/17332/




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https://www.tp-link.com/res/images/vi/cap/index.html




https://www.tp-link.com/res/images/vi/cap/index.html

      144. TP Link APs and ACs support configuration, using the CAPWAP

protocol, to separate WLAN functions between them.




https://tools.ietf.org/html/rfc5415.


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       145. TP Link APs send discovery requests to the one or more ACs in the

network.




Id.

       146. TP Link APs select an AC based on the discovery response message

received, through which the AC advertises its services.




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Id.

       147. The AP establishes a secure DTLS session with the chosen AC.




Id.

       148. The TP Link APs contain a negotiation unit that sends functional

information to the AC.




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Id.

       149. TP Link APs contain a negotiation unit that sends functional

information to the AC. For example, functions may be split using two modes of

operation: Split MAC and Local MAC.




Id.



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       150. As another example, functions may also be split using two modes of

encapsulation, including 802.3 and Native wireless.




Id.

TP-LINK INFRINGES U.S. PATENT NUMBER 8,902,871.
       151. The Patent Office issued U.S. Patent No. 8,902,871, titled “Wireless

Base Station and Wireless Communication Terminal and Wireless Communication

System Base Station Apparatus, Mobile Apparatus, and Communication Method,”

on December 2, 2014, after a thorough examination and determination that the

subject matter claimed is patentable.

       152. TP-Link Accused Products with respect to the ’871 patent include the



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TP-Link Wi-Fi adaptors that support Wi-Fi Direct. The Accused Products include

at least the Archer T4U, Archer T5UH, Archer T9UH, and TL-WN752N Wi-Fi

adaptors that support Wi-Fi Direct:




https://community.tp-link.com/en/home/forum/topic/155889.

      153. The Accused Products supports Wi-Fi Direct. In Wi-Fi Direct, one

Wi-Fi peer acts as a “communication terminal” and another Wi-Fi Direct peer acts

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as a “base station.”




Wi-Fi Peer-to-Peer (P2P) Technical Specification Version 1.7 [Page 14-17]

      154. W-Fi Direct connects a wireless base station (one Wi-Fi Direct peer

device) to a wireless communication terminal (another Wi-Fi Direct peer device).




      155. A Wi-Fi Direct peer device has a control section (e.g., Wi-Fi module

processor) that controls the wireless communication section.




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      156. A Wi-Fi Direct peer device can establish a connection with another

Wi-Fi Direct peer device using a connection that does not require authentication or

a connection that does not require authentication.




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      157. A Wi-Fi Direct peer device has a first wireless communication section

(e.g., IEEE 802.11 portion of Wi-Fi module) that communicates with another Wi-

Fi Direct peer device using a first method (e.g., IEEE 802.11).




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      158. A Wi-Fi Direct peer device has a second wireless communication

section (e.g., P2P portion of Wi-Fi module) that communicates with another Wi-Fi

Direct peer device using a second wireless communication method (e.g., P2P

protocol described in the “Wi-Fi Peer-to-Peer (P2P) Technical Specification”).




      159. A Wi-Fi Direct peer device receives from another Wi-Fi Direct peer

device, via the first method (e.g., P2P) profile information (e.g., operating channel

attributes) necessary for the devices to communicate via the second method (e.g.,

IEEE 802.11).




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TP-LINK INFRINGES U.S. PATENT NUMBER 9,357,441.
      160. The Patent Office issued U.S. Patent No. 9,357,441, titled “Wireless

Base Station and Wireless Communication Terminal and Wireless Communication

System Base Station Apparatus, Mobile Apparatus, and Communication Method,”

on May 31, 2016, after a thorough examination and determination that the subject

matter claimed is patentable.

      161. TP-Link Accused Products with respect to the ’441 patent include the

TP-Link Wi-Fi adaptors that support Wi-Fi Direct. The Accused Products include

at least the Archer T4U, Archer T5UH, Archer T9UH, and TL-WN752N Wi-Fi

adaptors that support Wi-Fi Direct:




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https://community.tp-link.com/en/home/forum/topic/155889.

      162. The Accused Products supports Wi-Fi Direct. In Wi-Fi Direct, one

Wi-Fi peer acts as a “communication terminal” and another Wi-Fi Direct peer acts

as a “base station.”




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Wi-Fi Peer-to-Peer (P2P) Technical Specification Version 1.7 [Page 14-17].

      163. A Wi-Fi Direct peer has wireless communication circuitry (e.g., Wi-Fi

module) that communicates with another Wi-Fi Direct peer.




      164. A Wi-Fi Direct peer has wireless communication circuitry (e.g., Wi-Fi

module) that communicates with another Wi-Fi Direct peer.




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      165. A Wi-Fi Direct peer device can establish a connection with another

Wi-Fi Direct peer device using a connection that does not require authentication or

a connection that does not require authentication.




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      166. A Wi-Fi Direct peer device has control circuitry (e.g., Wi-Fi module

processor) that controls the wireless communication circuitry.




      167. A Wi-Fi Direct peer device receives from another Wi-Fi Direct peer

device, via the first method (e.g., P2P) communication channel information (e.g.,

channel list and operating channel attributes) necessary for the devices to

communicate via the second method (e.g., IEEE 802.11).




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TP-LINK INFRINGES U.S. PATENT NUMBER 10,039,144.
      168. The Patent Office issued U.S. Patent No. 10,039,144, titled “Wireless

Base Station and Wireless Communication Terminal and Wireless Communication

System Base Station Apparatus, Mobile Apparatus, and Communication Method,”

on January 31, 2018, after a thorough examination and determination that the


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subject matter claimed is patentable.

      169. TP-Link Accused Products with respect to the ’144 patent include the

TP-Link Wi-Fi adaptors that support Wi-Fi Direct. The Accused Products include

at least the Archer T4U, Archer T5UH, Archer T9UH, and TL-WN752N Wi-Fi

adaptors that support Wi-Fi Direct:




https://community.tp-link.com/en/home/forum/topic/155889.

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      170. The Accused Products supports Wi-Fi Direct. In Wi-Fi Direct, one

Wi-Fi peer acts as a “communication terminal” and another Wi-Fi Direct peer acts

as a “base station.”




Wi-Fi Peer-to-Peer (P2P) Technical Specification Version 1.7 [Page 14-17].

      171. A Wi-Fi Direct peer has wireless communication circuitry (e.g., Wi-Fi

module) that communicates with another Wi-Fi Direct peer.




      172. A Wi-Fi Direct peer has wireless communication circuitry (e.g., Wi-Fi



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module) that communicates with another Wi-Fi Direct peer.




      173. A Wi-Fi Direct peer device can establish a connection with another

Wi-Fi Direct peer device using a connection that does not require authentication or

a connection that does not require authentication.




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      174. A Wi-Fi Direct peer device has control circuitry (e.g., Wi-Fi module

processor) that controls the wireless communication circuitry.




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      175. A Wi-Fi Direct peer device receives from another Wi-Fi Direct peer

device, via the first method (e.g., P2P) profile information (e.g., channel list and

operating channel attributes) necessary for the devices to communicate via the

second method (e.g., IEEE 802.11).




      176. A Wi-Fi Direct peer device receives content (e.g., WSC Exchange


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data, such as a Device Password) from another Wi-Fi Direct peer device, via the

second method (e.g., IEEE 802.11).




      177. A W-Fi Direct peer device receives information that is related to the

content (e.g., WSC IE data, such as a Device Password ID) from another Wi-Fi

Direct peer device, via the first method (e.g., P2P).




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                          NATURE OF THE ACTION
      178. SPV asserts that TP-Link infringes, directly and indirectly, certain

claims of U.S. Patent Nos. 7,796,512, 8,045,531, 8,270,384, 8,902,871, 9,357,441,

and 10,039,144 (the “SPV Asserted Patents”).

                             COUNT 1
               INFRINGEMENT OF U.S. PATENT NO. 7,779,512
      179. SPV realleges and incorporates by reference the allegations set forth

above as if restated verbatim here.

      180. SPV is the owner, by assignment, of U.S. Patent No. 7,779,512. The

’512 Patent was issued by the United States Patent and Trademark Office on

September 14, 2010.

      181. As the owner of the ’512 Patent, SPV holds all substantial rights in

and under the ’512 Patent, including the right to grant licenses, exclude others, and

to enforce, sue, and recover damages for past and future infringement.

      182. The ’512 Patent is valid, enforceable and was duly issued in full

compliance with Title 35 of the United States Code.

      183. SPV alleges that TP-Link has infringed, and continues to infringe, the

’512 Patent.

      184. TP-Link makes, uses, offers to sell, sells, and/or imports products and

video monitoring services and products accessible on the TP-Link App, websites,

and all other similar products (“TP-Link Accused Products”) that infringe the ’512



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Patent. These products include, without limitation, TP-Link Deco Mesh devices

and business EAPs enabled for 802.11k/r. By way of example, specific TP-Link

Accused products include:

       802.11ac Whole Home Mesh Wi Fi 6 System Models AX1800 and

         AX3000;

       802.11ac Whole Home Mesh Wi Fi System Model AC1200;

       802.11ac Smart Home Mesh Wi Fi System Model AC2200;

       802.11ac Tri Band Mesh Wi Fi 6/6E System Models AX3600, AX6600,

         AXE5400, and AX5700;

       802.11ac Dual Band Hybrid Mesh Wi Fi Systems: AC1300 and AV600;

       802.11ac Whole Home Powerline Mesh Wi Fi System AV1000;

       Deco X20, Deco XE200, Deco W3600, Deco XE75, Deco XE75 Pro,

         Deco XE5300, Deco X60, Deco X25, Deco X90, Deco X5700, Deco

         X68, DecoX5400 Pro, DecoX4300 Pro, Deco X3600, Deco W7200,

         Deco W6000, Deco X50-Outdoor, Deco PX50, Deco X50-PoE, Deco

         X55, Deco M5, Deco S4, Deco P9, Deco M4, Deco W2400, and Deco

         E3;

      802.11ac Omada EAPs: EAP670, EAP660 HD, EAP650, EAP620 HD,

EAP610, EAP265 HD, EAP245, EAP225, EAP115, EAP110, EAP615 Wall,

EAP235 Wall, EAP230 Wall, EAP225 Wall, EAP115 Wall, EAP610 Outdoor,


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EAP225 Outdoor, EAP110 Outdoor, and EAP653.

      185. TP-Link has directly infringed at least claim 1 of the ’512 Patent by

using (including its own testing), making, selling, offering for sale, licensing,

and/or importing into the United States without authority the TP-Link Accused

Products.

      186. The TP-Link Accused Products are designed, manufactured, and

intended to be used in normal operation to practice the ’512 Patent and feature

functionality comprising the steps noted above.

      187. TP-Link has used and tested the TP-Link Accused Products in the

United States.

      188. TP-Link thus has infringed and continues to infringe the ’512 Patent.

      189. TP-Link’s activities were without authority of license under the ’512

Patent.

      190. TP-Link’s users, customers, agents and/or other third parties

(collectively, “third-party infringers”) infringed and continue to infringe the

asserted claims including under 35 U.S.C. § 271(a) by using the TP-Link Accused

Products according to their normal and intended use.

      191. TP-Link has, since at least as early as September 2019, known or been

willfully blind to the fact that the third-party infringers’ use of the TP-Link

Accused Products directly infringes the ’512 Patent.



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      192. TP-Link’s knowledge of the ’512 Patent, which covers operating the

TP-Link Accused Products in their intended manner such that all limitations of the

asserted claims of the ’512 Patent are met, extends to its knowledge that the third-

party infringers’ use of the TP-Link Accused Products directly infringes the ’512

Patent, or, at the very least, rendered TP-Link willfully blind to such infringement.

      193. With knowledge of or willful blindness to the fact that the third-party

infringers’ use of the TP-Link Accused Products in their intended manner such that

all limitations of the asserted claims of the ’512 Patent are met directly infringes

the ’512 Patent, TP-Link has actively encouraged the third-party infringers to

directly infringe the ’512 Patent by making, using, testing, selling, offering for

sale, importing and/or licensing the accused products by, for example: marketing

TP-Link’s Mesh Units and Access Point 802.11 k/r switching capabilities to the

third-party infringers; supporting and managing the third-party infringers’ use of

the TP-Link 801.11 k/r functionalities; and providing technical assistance to the

third-party infringers during their continued use of the TP-Link Accused Products

such as by, for example, publishing instructional information on the TP-Link

websites (including, without limitation, the knowledge center, instructional videos

and on the TP-Link branded websites) directing and encouraging third-party

infringers how to make and use the 802.11 k/r switching features of the TP-Link

Accused Products.



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      194. TP-Link induces the third-party infringers to infringe the asserted

claims of the ’512 Patent by directing or encouraging them to operate the TP-Link

Accused Products which satisfy all limitations of the asserted claims of the ’512

Patent. For example, TP-Link advertises and promotes the 802.11 k/r switching

features of the TP-Link Accused Products and encourages the third-party infringers

to operate them in an infringing manner. TP-Link further provides technical

assistance directing and instructing third parties how to operate the TP-Link

Accused Products by, for example, publishing instructional materials, videos,

knowledge center resources, how-to guides, troubleshooting, manuals, and user

guides.

      195. In response, the third-party infringers acquire and operate the TP-Link

Accused Products in an infringing manner.

      196. TP-Link specifically intends to induce, and did induce, the third-party

infringers to infringe the asserted claims of the ’512 Patent, and TP-Link knew of

or was willfully blind to such infringement. TP-Link advised, encouraged, and/or

aided the third-party infringers to engage in direct infringement, including through

its encouragement, advice, and assistance to the third-party infringers to use the

802.11 k/r switching features of the TP-Link Accused Products. Having known or

been willfully blind to the fact that the third-party infringers’ use of the TP-Link

Accused Products in their intended manner such that all limitations of asserted



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claims of the ’512 Patent were met directly infringed the ’512 Patent, TP-Link,

upon information and belief, actively encouraged and induced the third-party

infringers to directly infringe the ’512 Patent by making, using, testing, selling,

offering for sale, importing and/or licensing said TP-Link Accused Products, and

by, for example: marketing the TP-Link Accused Products to the third-party

infringers; supporting and managing the third-party infringers’ use of the TP-Link

Accused Products; and providing technical assistance to the third-party infringers

during their continued use of the TP-Link Accused Products by, for example,

publishing the following instructional information directing third-party infringers

how to make and use the TP-Link Accused Products to infringe the asserted claims

of the ’512 Patent:

       https://www.tp-link.com/us/support/download/;

       https://www.tp-link.com/us/support/download/deco-x20/;

       https://www.tp-link.com/us/support/emulator/;

       https://emulator.tp-link.com/eap_emulator_660/index.html;

       https://emulator.tp-link.com/eap_emulator_620HD_v3/index.html;

       https://static.tp-link.com/upload/product-

          overview/2022/202211/20221122/Deco%20W3600(2-

          pack)(US)%201.0_Datasheet.pdf;

       https://static.tp-


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         link.com/upload/manual/2021/202111/20211101/1910013097_Deco%20

         XE75&XE5300%201.0_User%20Guide.pdf;

       https://www.tp-link.com/us/support/download/deco-x60/;

       https://www.tp-link.com/us/support/download/deco-m4/;

       https://www.tp-link.com/us/support/download/deco-m9-plus/;

       https://www.tp-link.com/us/support/download/deco-m9-plus/#FAQs;

       https://www.tp-link.com/us/support/download/deco-x90/;

       https://www.tp-link.com/us/support/download/deco-xe75/;

       https://www.tp-link.com/us/support/download/deco-x5700/;

       https://www.tp-link.com/us/support/download/deco-m5/;

       https://www.tp-link.com/us/support/download/deco-p7/;

       https://static.tp-

         link.com/2019/201904/20190428/1910012360_Deco%20P7_UG.pdf;

       https://www.tp-link.com/us/support/download/deco-p9/;

       https://www.tp-link.com/us/learning-center/;

       https://community.tp-link.com/us/home/kb;

       https://www.tp-link.com/us/support/faq/;

       https://www.tp-link.com/us/support/setup-video/; and

       www.tp-link.com help documentation, among others.

      197. Based upon the foregoing facts, among other things, TP-Link has

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induced and continues to induce infringement of the asserted claims of the ’512

Patent under 35 U.S.C. § 271(b).

      198. TP-Link has sold, provided and/or licensed to the third-party

infringers and continues to sell, provide and/or license the TP-Link Accused

Products that are especially made and adapted—and specifically intended by TP-

Link—to be used as components and material parts of the inventions covered by

the ’512 Patent. For example, the TP-Link Accused Products include 802.11 k/r

switching features identified above which the third-party infringers used in a

manner such that all limitations of the asserted claims are met, and without which

the third-party infringers would have been unable to use and avail themselves of

the intended functionality of the accused products.

      199. TP-Link also knew that the accused products are operated in a manner

that practices each asserted claim of the ’512 Patent.

      200. The 802.11 k/r switching features are specially made and adapted to

infringe the asserted claims of the ’512 Patent.

      201. The 802.11 k/r switching features are not a staple article or

commodity of commerce, and, because the functionality was designed to work

with the TP-Link Accused Products solely in a manner that is covered by the ’512

Patent, it has no substantial non-infringing use. At least by SPV’s notice of TP-

Link’s infringement, based upon the foregoing facts, TP-Link knew of or was



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willfully blind to the fact that such functionality was especially made and adapted

for—and was in fact used in—the accused products in a manner that is covered by

the ’512 Patent.

      202. Based upon the foregoing facts, among other things, TP-Link has

contributorily infringed and continues to contributorily infringe the asserted claims

of the ’512 Patent under 35 U.S.C. § 271(c).

      203. Upon information and belief, TP-Links’ acts of infringement of the

’512 Patent continue since notice and since this complaint was filed and are,

therefore, carried out with knowledge of the asserted claims of the ’512 Patent and

how the TP-Link Accused Products infringe them. Rather than take a license to

the ’512 Patent, TP-Link’s ongoing infringing conduct reflects a business decision

to “efficiently infringe” the asserted claims and in doing so constitutes willful

infringement under the standard of Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S.

Ct. 1923 (2016).

      204. TP-Link’s acts of direct and indirect infringement have caused and

continue to cause damage to SPV for which SPV is entitled to recover damages

sustained as a result of TP-Link’s infringing acts in an amount subject to proof at

trial, which, by law, cannot be less than a reasonable royalty, together with interest

and costs as fixed by this Court, pursuant to 35 U.S.C. § 284.




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                         COUNT 2
           INFRINGEMENT OF U.S. PATENT NO. 8,045,531
      205. SPV realleges and incorporates by reference the allegations set forth

above as if restated verbatim here.

      206. SPV is the owner, by assignment, of U.S. Patent No. 8,045,531. The

’512 Patent was issued by the United States Patent and Trademark Office on

October 25, 2011.

      207. As the owner of the ’531 Patent, SPV holds all substantial rights in

and under the ’531 Patent, including the right to grant licenses, exclude others, and

to enforce, sue, and recover damages for past and future infringement.

      208. The ’531 Patent is valid, enforceable and was duly issued in full

compliance with Title 35 of the United States Code.

      209. SPV alleges that TP-Link has infringed, and continues to infringe, the

’531 Patent.

      210. TP-Link makes, uses, offers to sell, sells, and/or imports products and

video monitoring services and products accessible on the TP-Link App, websites,

and all other similar products (“TP-Link Accused Products”) that infringe the ’531

Patent. These products include, without limitation, TP-Link Omada WiFI system

comprising, by way of example, TP-Link Omada OC200 and OC300 controller

devices that interface with TP-Link Omada APs to provide WLAN service.

Accused TP-Link WiFi Systems also comprise one or more Omada APs (WAPs)


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managed by an Omada Controller including, without limitation, Omada APs

identified at https://www.tp link.com/us/business networking/all omada/#omada-

acces-points such as TP-Link Access Points Models EAP660 HD, EAP620 HD,

EAP610, EAP265 HD, EAP245, EAP225, EAP115, EAP110, EAP615 Wall,

EAP235 Wall, EAP230 Wall, EAP225 Wall, EAP115 Wall, EAP225 Outdoor,

EAP110 Outdoor, and EAP 653. Additional TP-Link Accused Products with

respect to the ’531 patent include the TP-Link Systems featuring TP-Link APs and

TP-Link access controllers (ACs including, for example, TP-Link AC50 and

AC500 wireless controllers) that support configuration using the CAPWAP

protocol to provide service in a WLAN.

      211. TP-Link has directly infringed at least claim 1 of the ’531 Patent by

using (including its own testing), making, selling, offering for sale, licensing,

and/or importing into the United States without authority the TP-Link Accused

Products.

      212. The TP-Link Accused Products are designed, manufactured, and

intended to be used in normal operation to practice the ’531 Patent and feature

functionality comprising the steps noted above.

      213. TP-Link has used and tested the TP-Link Accused Products in the

United States.

      214. TP-Link thus has infringed and continues to infringe the ’531 Patent.



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      215. TP-Link’s activities were without authority of license under the ’531

Patent.

      216. TP-Link’s users, customers, agents and/or other third parties

(collectively, “third-party infringers”) infringed and continue to infringe the

asserted claims including under 35 U.S.C. § 271(a) by using the TP-Link Accused

Products according to their normal and intended use.

      217. TP-Link has, since at least as early as September 2019, known or been

willfully blind to the fact that the third-party infringers’ use of the TP-Link

Accused Products directly infringes the ’531 Patent.

      218. TP-Link’s knowledge of the ’531 Patent, which covers operating the

TP-Link Accused Products in their intended manner such that all limitations of the

asserted claims of the ’531 Patent are met, extends to its knowledge that the third-

party infringers’ use of the TP-Link Accused Products directly infringes the ’531

Patent, or, at the very least, rendered TP-Link willfully blind to such infringement.

      219. With knowledge of or willful blindness to the fact that the third-party

infringers’ use of the TP-Link Accused Products in their intended manner such that

all limitations of the asserted claims of the ’512 Patent are met directly infringes

the ’512 Patent, TP-Link has actively encouraged the third-party infringers to

directly infringe the ’512 Patent by making, using, testing, selling, offering for

sale, importing and/or licensing the accused products by, for example: marketing



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TP-Link’s Devices capabilities to the third-party infringers; supporting and

managing the third-party infringers’ use of the TP-Link wireless functionalities;

and providing technical assistance to the third-party infringers during their

continued use of the TP-Link Accused Products such as by, for example,

publishing instructional information on the TP-Link websites (including, without

limitation, the knowledge center, instructional videos and on the TP-Link branded

websites) directing and encouraging third-party infringers how to make and use the

wireless features of the TP-Link Accused Products.

      220. TP-Link induces the third-party infringers to infringe the asserted

claims of the ’531 Patent by directing or encouraging them to operate the TP-Link

Accused Products which satisfy all limitations of the asserted claims of the ’531

Patent. For example, TP-Link advertises and promotes the wireless features of the

TP-Link Accused Products and encourages the third-party infringers to operate

them in an infringing manner. TP-Link further provides technical assistance

directing and instructing third parties how to operate the TP-Link Accused

Products by, for example, publishing instructional materials, videos, knowledge

center resources, how-to guides, troubleshooting, manuals, and user guides.

      221. In response, the third-party infringers acquire and operate the TP-Link

Accused Products in an infringing manner.

      222. TP-Link specifically intends to induce, and did induce, the third-party



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infringers to infringe the asserted claims of the ’531 Patent, and TP-Link knew of

or was willfully blind to such infringement. TP-Link advised, encouraged, and/or

aided the third-party infringers to engage in direct infringement, including through

its encouragement, advice, and assistance to the third-party infringers to use the

wireless features of the TP-Link Accused Products. Having known or been

willfully blind to the fact that the third-party infringers’ use of the TP-Link

Accused Products in their intended manner such that all limitations of asserted

claims of the ’531 Patent were met directly infringed the ’531 Patent, TP-Link,

upon information and belief, actively encouraged and induced the third-party

infringers to directly infringe the ’531 Patent by making, using, testing, selling,

offering for sale, importing and/or licensing said TP-Link Accused Products, and

by, for example: marketing the TP-Link Accused Products to the third-party

infringers; supporting and managing the third-party infringers’ use of the TP-Link

Accused Products; and providing technical assistance to the third-party infringers

during their continued use of the TP-Link Accused Products by, for example,

publishing the following instructional information directing third-party infringers

how to make and use the TP-Link Accused Products to infringe the asserted claims

of the ’531 Patent:

       https://www.tp-link.com/us/support/download/;

       https://www.tp-link.com/us/support/download/oc200/;


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       https://www.tp-link.com/us/support/download/oc300/;

       https://www.tp-link.com/us/support/emulator/;

       https://emulator.tp-link.com/oc200/index.html#statistics;

       https://emulator.tp-link.com/omada-sdn-controller-

         v4.3/index.html#dashboard;

       https://emulator.tp-link.com/EmulatorV5.0/index.html);

       https://static.tp-link.com/product-

         overview/2021/202107/20210719/Controller%20Datasheet.pdf;

       https://static.tp-

         link.com/upload/manual/2022/202208/20220819/1910013217_Omada%

         20SDN%20Controller_User%20Guide_REV5.4.0.pdf;

       https://www.tp-link.com/us/support/download/eap660-hd/;

       https://www.tp-link.com/us/support/download/eap620-hd/;

       https://www.tp-link.com/us/support/download/eap650/;

       https://www.tp-link.com/us/support/download/eap610/;

       https://www.tp-link.com/us/support/download/eap265-hd/;

       https://www.tp-link.com/us/support/download/eap245/;

       https://www.tp-link.com/us/support/download/eap115/;

       https://www.tp-link.com/us/support/download/eap225-outdoor/;

       https://www.tp-link.com/us/support/download/eap110-outdoor/;

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       https://www.tp-link.com/us/support/download/eap670/;

       https://www.tp-link.com/us/support/download/eap615-wall/;

       https://www.tp-link.com/us/support/download/eap235-wall/;

       https://www.tp-link.com/us/support/download/eap225-wall/;

       https://www.tp-link.com/us/support/download/eap653/;

       https://www.tp-link.com/us/support/download/eap610-outdoor/;

       https://www.tp-link.com/us/support/download/eap225/;

       https://www.tp-link.com/us/support/download/eap110/;

       https://www.tp-link.com/us/learning-center/;

       https://community.tp-link.com/us/home/kb;

       https://www.tp-link.com/us/support/faq/;

       https://www.tp-link.com/us/support/setup-video/; and

       www.tp-link.com help documentation, among others.

      223. Based upon the foregoing facts, among other things, TP-Link has

induced and continues to induce infringement of the asserted claims of the ’531

Patent under 35 U.S.C. § 271(b).

      224. TP-Link has sold, provided and/or licensed to the third-party

infringers and continues to sell, provide and/or license the TP-Link Accused

Products that are especially made and adapted—and specifically intended by TP-

Link—to be used as components and material parts of the inventions covered by


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the ’531 Patent. For example, the TP-Link Accused Products include wireless

features identified above which the third-party infringers used in a manner such

that all limitations of the asserted claims are met, and without which the third-party

infringers would have been unable to use and avail themselves of the intended

functionality of the accused products.

      225. TP-Link also knew that the accused products are operated in a manner

that practices each asserted claim of the ’531 Patent.

      226. The wireless features are specially made and adapted to infringe the

asserted claims of the ’531 Patent.

      227. The wireless features are not a staple article or commodity of

commerce, and, because the functionality was designed to work with the TP-Link

Accused Products solely in a manner that is covered by the ’531 Patent, it has no

substantial non-infringing use. At least by SPV’s notice of TP-Link’s infringement,

based upon the foregoing facts, TP-Link knew of or was willfully blind to the fact

that such functionality was especially made and adapted for—and was in fact used

in—the accused products in a manner that is covered by the ’531 Patent.

      228. Based upon the foregoing facts, among other things, TP-Link has

contributorily infringed and continues to contributorily infringe the asserted claims

of the ’531 Patent under 35 U.S.C. § 271(c).

      229. Upon information and belief, TP-Links’ acts of infringement of the



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’531 Patent continue since notice and since this complaint was filed and are,

therefore, carried out with knowledge of the asserted claims of the ’531 Patent and

how the TP-Link Accused Products infringe them. Rather than take a license to

the ’531 Patent, TP-Link’s ongoing infringing conduct reflects a business decision

to “efficiently infringe” the asserted claims and in doing so constitutes willful

infringement under the standard of Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S.

Ct. 1923 (2016).

      230. TP-Link’s acts of direct and indirect infringement have caused and

continue to cause damage to SPV for which SPV is entitled to recover damages

sustained as a result of TP-Link’s infringing acts in an amount subject to proof at

trial, which, by law, cannot be less than a reasonable royalty, together with interest

and costs as fixed by this Court, pursuant to 35 U.S.C. § 284.

                            COUNT 3
              INFRINGEMENT OF U.S. PATENT NO. 8,270,384

      231. SPV realleges and incorporates by reference the allegations set forth

above as if restated verbatim here.

      232. SPV is the owner, by assignment, of U.S. Patent No. 8,270,384. The

’384 Patent was issued by the United States Patent and Trademark Office on

September 18, 2012.

      233. As the owner of the ’384 Patent, SPV holds all substantial rights in

and under the ’384 Patent, including the right to grant licenses, exclude others, and

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to enforce, sue, and recover damages for past and future infringement.

      234. The ’384 Patent is valid, enforceable and was duly issued in full

compliance with Title 35 of the United States Code.

      235. SPV alleges that TP-Link has infringed, and continues to infringe, the

’384 Patent.

      236. TP-Link makes, uses, offers to sell, sells, and/or imports products and

video monitoring services and products accessible on the TP-Link App, websites,

and all other similar products (“TP-Link Accused Products”) that infringe the ’384

Patent. These products include, without limitation, TP-Link Omada WiFI system

comprising, by way of example, TP-Link Omada OC200 and OC300 controller

devices that interface with TP-Link Omada APs to provide WLAN service.

Accused TP-Link WiFi Systems also comprise Omada Software Defined

Networking (SDN) and comprise one or more Omada APs (WAPs) managed by an

Omada Controller including, without limitation, Omada APs identified at

https://www.tp link.com/us/business networking/all omada/#omada-acces-points

such as TP-Link Access Points Models EAP660 HD, EAP620 HD, EAP610,

EAP265 HD, EAP245, EAP225, EAP115, EAP110, EAP615 Wall, EAP235 Wall,

EAP230 Wall, EAP225 Wall, EAP115 Wall, EAP225 Outdoor, EAP110 Outdoor,

and EAP653. TP-Link Accused Products also include TP Link access points (AP)

that support configuration using the CAPWAP protocol to provide service in a



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WLAN, including CAP300/CAP1200/CAP1750 and CAP 300-Outdoor.

      237. TP-Link has directly infringed at least claim 1 of the ’384 Patent by

using (including its own testing), making, selling, offering for sale, licensing,

and/or importing into the United States without authority the TP-Link Accused

Products.

      238. The TP-Link Accused Products are designed, manufactured, and

intended to be used in normal operation to practice the ’384 Patent and feature

functionality comprising the steps noted above.

      239. TP-Link has used and tested the TP-Link Accused Products in the

United States.

      240. TP-Link thus has infringed and continues to infringe the ’384 Patent.

      241. TP-Link’s activities were without authority of license under the ’384

Patent.

      242. TP-Link’s users, customers, agents and/or other third parties

(collectively, “third-party infringers”) infringed and continue to infringe the

asserted claims including under 35 U.S.C. § 271(a) by using the TP-Link Accused

Products according to their normal and intended use.

      243. TP-Link has, since at least as early as September 2019, known or been

willfully blind to the fact that the third-party infringers’ use of the TP-Link

Accused Products directly infringes the ’384 Patent.



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      244. TP-Link’s knowledge of the ’384 Patent, which covers operating the

TP-Link Accused Products in their intended manner such that all limitations of the

asserted claims of the ’384 Patent are met, extends to its knowledge that the third-

party infringers’ use of the TP-Link Accused Products directly infringes the ’384

Patent, or, at the very least, rendered TP-Link willfully blind to such infringement.

      245. With knowledge of or willful blindness to the fact that the third-party

infringers’ use of the TP-Link Accused Products in their intended manner such that

all limitations of the asserted claims of the ’384 Patent are met directly infringes

the ’384 Patent, TP-Link has actively encouraged the third-party infringers to

directly infringe the ’384 Patent by making, using, testing, selling, offering for

sale, importing and/or licensing the accused products by, for example: marketing

TP-Link’s Devices capabilities to the third-party infringers; supporting and

managing the third-party infringers’ use of the TP-Link wireless functionalities;

and providing technical assistance to the third-party infringers during their

continued use of the TP-Link Accused Products such as by, for example,

publishing instructional information on the TP-Link websites (including, without

limitation, the knowledge center, instructional videos and on the TP-Link branded

website) directing and encouraging third-party infringers how to make and use the

wireless features of the TP-Link Accused Products.

      246. TP-Link induces the third-party infringers to infringe the asserted



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claims of the ’384 Patent by directing or encouraging them to operate the TP-Link

Accused Products which satisfy all limitations of the asserted claims of the ’384

Patent. For example, TP-Link advertises and promotes the wireless features of the

TP-Link Accused Products and encourages the third-party infringers to operate

them in an infringing manner. TP-Link further provides technical assistance

directing and instructing third parties how to operate the TP-Link Accused

Products by, for example, publishing instructional materials, videos, knowledge

center resources, how-to guides, troubleshooting, manuals, and user guides.

      247. In response, the third-party infringers acquire and operate the TP-Link

Accused Products in an infringing manner.

      248. TP-Link specifically intends to induce, and did induce, the third-party

infringers to infringe the asserted claims of the ’384 Patent, and TP-Link knew of

or was willfully blind to such infringement. TP-Link advised, encouraged, and/or

aided the third-party infringers to engage in direct infringement, including through

its encouragement, advice, and assistance to the third-party infringers to use the

wireless features of the TP-Link Accused Products. Having known or been

willfully blind to the fact that the third-party infringers’ use of the TP-Link

Accused Products in their intended manner such that all limitations of asserted

claims of the ’384 Patent were met directly infringed the ’384 Patent, TP-Link,

upon information and belief, actively encouraged and induced the third-party



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infringers to directly infringe the ’384 Patent by making, using, testing, selling,

offering for sale, importing and/or licensing said TP-Link Accused Products, and

by, for example: marketing the TP-Link Accused Products to the third-party

infringers; supporting and managing the third-party infringers’ use of the TP-Link

Accused Products; and providing technical assistance to the third-party infringers

during their continued use of the TP-Link Accused Products by, for example,

publishing the following instructional information directing third-party infringers

how to make and use the TP-Link Accused Products to infringe the asserted claims

of the ’384 Patent:

       https://www.tp-link.com/us/support/download/;

       https://www.tp-link.com/us/support/download/oc200/;

       https://www.tp-link.com/us/support/download/oc300/;

       https://www.tp-link.com/us/support/emulator/;

       https://emulator.tp-link.com/oc200/index.html#statistics;

       https://emulator.tp-link.com/omada-sdn-controller-

          v4.3/index.html#dashboard;

       https://emulator.tp-link.com/EmulatorV5.0/index.html);

          https://emulator.tp-link.com/eap_emulator_660/index.html;

       https://emulator.tp-link.com/eap_emulator_620HD_v3/index.html;

       https://static.tp-link.com/product-


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         overview/2021/202107/20210719/Controller%20Datasheet.pdf;

       https://static.tp-

         link.com/upload/manual/2022/202208/20220819/1910013217_Omada%

         20SDN%20Controller_User%20Guide_REV5.4.0.pdf;

       https://www.tp-link.com/us/support/download/eap660-hd/;

       https://www.tp-link.com/us/support/download/eap620-hd/;

       https://www.tp-link.com/us/support/download/eap650/;

       https://www.tp-link.com/us/support/download/eap610/;

       https://www.tp-link.com/us/support/download/eap265-hd/;

       https://www.tp-link.com/us/support/download/eap245/;

       https://www.tp-link.com/us/support/download/eap115/;

       https://www.tp-link.com/us/support/download/eap225-outdoor/;

       https://www.tp-link.com/us/support/download/eap110-outdoor/;

       https://www.tp-link.com/us/support/download/eap670/;

       https://www.tp-link.com/us/support/download/eap615-wall/;

       https://www.tp-link.com/us/support/download/eap235-wall/;

       https://www.tp-link.com/us/support/download/eap225-wall/;

       https://www.tp-link.com/us/support/download/eap653/;

       https://www.tp-link.com/us/support/download/eap610-outdoor/;

       https://www.tp-link.com/us/support/download/eap225/;

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       https://www.tp-link.com/us/support/download/eap110/;

       https://www.tp-link.com/us/learning-center/;

       https://community.tp-link.com/us/home/kb;

       https://www.tp-link.com/us/support/faq/;

       https://www.tp-link.com/us/support/setup-video/; and

       www.tp-link.com help documentation, among others.

      249. Based upon the foregoing facts, among other things, TP-Link has

induced and continues to induce infringement of the asserted claims of the ’384

Patent under 35 U.S.C. § 271(b).

      250. TP-Link has sold, provided and/or licensed to the third-party

infringers and continues to sell, provide and/or license the TP-Link Accused

Products that are especially made and adapted—and specifically intended by TP-

Link—to be used as components and material parts of the inventions covered by

the ’384 Patent. For example, the TP-Link Accused Products include wireless

features identified above which the third-party infringers used in a manner such

that all limitations of the asserted claims are met, and without which the third-party

infringers would have been unable to use and avail themselves of the intended

functionality of the accused products.

      251. TP-Link also knew that the accused products are operated in a manner

that practices each asserted claim of the ’384 Patent.


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      252. The wireless features are specially made and adapted to infringe the

asserted claims of the ’384 Patent.

      253. The wireless features are not a staple article or commodity of

commerce, and, because the functionality was designed to work with the TP-Link

Accused Products solely in a manner that is covered by the ’384 Patent, it has no

substantial non-infringing use. At least by SPV’s notice of TP-Link’s infringement,

based upon the foregoing facts, TP-Link knew of or was willfully blind to the fact

that such functionality was especially made and adapted for—and was in fact used

in—the accused products in a manner that is covered by the ’384 Patent.

      254. Based upon the foregoing facts, among other things, TP-Link has

contributorily infringed and continues to contributorily infringe the asserted claims

of the ’384 Patent under 35 U.S.C. § 271(c).

      255. Upon information and belief, TP-Links’ acts of infringement of the

’384 Patent continue since notice and since this complaint was filed and are,

therefore, carried out with knowledge of the asserted claims of the ’384 Patent and

how the TP-Link Accused Products infringe them. Rather than take a license to

the ’384 Patent, TP-Link’s ongoing infringing conduct reflects a business decision

to “efficiently infringe” the asserted claims and in doing so constitutes willful

infringement under the standard of Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S.

Ct. 1923 (2016).



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      256. TP-Link’s acts of direct and indirect infringement have caused and

continue to cause damage to SPV for which SPV is entitled to recover damages

sustained as a result of TP-Link’s infringing acts in an amount subject to proof at

trial, which, by law, cannot be less than a reasonable royalty, together with interest

and costs as fixed by this Court, pursuant to 35 U.S.C. § 284.

                             COUNT 4
               INFRINGEMENT OF U.S. PATENT NO. 8,902,871

      257. SPV realleges and incorporates by reference the allegations set forth

above as if restated verbatim here.

      258. SPV is the owner, by assignment, of U.S. Patent No. 8,902,871. The

’871 Patent was issued by the United States Patent and Trademark Office on

December 2, 2014.

      259. As the owner of the ’871 Patent, SPV holds all substantial rights in

and under the ’871 Patent, including the right to grant licenses, exclude others, and

to enforce, sue, and recover damages for past and future infringement.

      260. The ’871 Patent is valid, enforceable and was duly issued in full

compliance with Title 35 of the United States Code.

      261. SPV alleges that TP-Link has infringed, and continues to infringe, the

’871 Patent.

      262. TP-Link makes, uses, offers to sell, sells, and/or imports products and

routers accessible on the TP-Link App, websites, and all other similar products

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(“TP-Link Accused Products”) that infringe the ’821 Patent. These products

include, without limitation, TP-Link Wi-Fi adaptors that support Wi-Fi Direct.

The Accused Products include at least the Archer T4U, Archer T5UH, Archer

T9UH, and TL-WN752N Wi-Fi adaptors that support Wi-Fi Direct.

      263. TP-Link has directly infringed at least claim 1 of the ’821 Patent by

using (including its own testing), making, selling, offering for sale, licensing,

and/or importing into the United States without authority the TP-Link Accused

Products.

      264. The TP-Link Accused Products are designed, manufactured, and

intended to be used in normal operation to practice the ’821 Patent and feature

functionality comprising the steps noted above.

      265. TP-Link has used and tested the TP-Link Accused Products in the

United States.

      266. TP-Link thus has infringed and continues to infringe the ’821 Patent.

      267. TP-Link’s activities were without authority of license under the ’821

Patent.

      268. TP-Link’s users, customers, agents and/or other third parties

(collectively, “third-party infringers”) infringed and continue to infringe the

asserted claims including under 35 U.S.C. § 271(a) by using the TP-Link Accused

Products according to their normal and intended use.



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      269. TP-Link has, since at least as early as September 2019, known or been

willfully blind to the fact that the third-party infringers’ use of the TP-Link

Accused Products directly infringes the ’821 Patent.

      270. TP-Link’s knowledge of the ’821 Patent, which covers operating the

TP-Link Accused Products in their intended manner such that all limitations of the

asserted claims of the ’821 Patent are met, extends to its knowledge that the third-

party infringers’ use of the TP-Link Accused Products directly infringes the ’821

Patent, or, at the very least, rendered TP-Link willfully blind to such infringement.

      271. With knowledge of or willful blindness to the fact that the third-party

infringers’ use of the TP-Link Accused Products in their intended manner such that

all limitations of the asserted claims of the ’821 Patent are met directly infringes

the ’821 Patent, TP-Link has actively encouraged the third-party infringers to

directly infringe the ’821 Patent by making, using, testing, selling, offering for

sale, importing and/or licensing the accused products by, for example: marketing

TP-Link’s Devices Wi-Fi Direct capabilities to the third-party infringers;

supporting and managing the third-party infringers’ use of the TP-Link Wi-Fi

Direct functionalities; and providing technical assistance to the third-party

infringers during their continued use of the TP-Link Accused Products such as by,

for example, publishing instructional information on the TP-Link websites

(including, without limitation, the knowledge center, instructional videos and on



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the TP-Link branded website) directing and encouraging third-party infringers how

to make and use the Wi-Fi Direct features of the TP-Link Accused Products.

      272. TP-Link induces the third-party infringers to infringe the asserted

claims of the ’821 Patent by directing or encouraging them to operate the TP-Link

Accused Products which satisfy all limitations of the asserted claims of the ’821

Patent. For example, TP-Link advertises and promotes the Wi-Fi Direct features of

the TP-Link Accused Products and encourages the third-party infringers to operate

them in an infringing manner. TP-Link further provides technical assistance

directing and instructing third parties how to operate the TP-Link Accused

Products by, for example, publishing instructional materials, videos, knowledge

center resources, how-to guides, troubleshooting, manuals, and user guides.

      273. In response, the third-party infringers acquire and operate the TP-Link

Accused Products in an infringing manner.

      274. TP-Link specifically intends to induce, and did induce, the third-party

infringers to infringe the asserted claims of the ’821 Patent, and TP-Link knew of

or was willfully blind to such infringement. TP-Link advised, encouraged, and/or

aided the third-party infringers to engage in direct infringement, including through

its encouragement, advice, and assistance to the third-party infringers to use the

Wi-Fi Direct features of the TP-Link Accused Products. Having known or been

willfully blind to the fact that the third-party infringers’ use of the TP-Link



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Accused Products in their intended manner such that all limitations of asserted

claims of the ’821 Patent were met directly infringed the ’821 Patent, TP-Link,

upon information and belief, actively encouraged and induced the third-party

infringers to directly infringe the ’821 Patent by making, using, testing, selling,

offering for sale, importing and/or licensing said TP-Link Accused Products, and

by, for example: marketing the TP-Link Accused Products to the third-party

infringers; supporting and managing the third-party infringers’ use of the TP-Link

Accused Products; and providing technical assistance to the third-party infringers

during their continued use of the TP-Link Accused Products by, for example,

publishing the following instructional information directing third-party infringers

how to make and use the TP-Link Accused Products to infringe the asserted claims

of the ’821 Patent:

       https://www.tp-link.com/us/support/download/;

       https://www.tp-link.com/us/support/download/archer-t4u/;

       https://static.tp-

          link.com/2020/202010/20201019/Archer%20T4U(EU&US)_3.0_datashe

          et.pdf;

       https://www.tp-link.com/us/support/download/archer-t4uh/;

       https://www.tp-link.com/us/support/download/archer-t9uh/;

       https://www.tp-link.com/us/support/download/tl-wn725n/;


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       https://www.tp-link.com/us/learning-center/;

       https://community.tp-link.com/us/home/kb;

       https://www.tp-link.com/us/support/faq/;

       https://www.tp-link.com/us/support/setup-video/; and

       www.tp-link.com help documentation, among others.

      275. Based upon the foregoing facts, among other things, TP-Link has

induced and continues to induce infringement of the asserted claims of the ’821

Patent under 35 U.S.C. § 271(b).

      276. TP-Link has sold, provided and/or licensed to the third-party

infringers and continues to sell, provide and/or license the TP-Link Accused

Products that are especially made and adapted—and specifically intended by TP-

Link—to be used as components and material parts of the inventions covered by

the ’821 Patent. For example, the TP-Link Accused Products include Wi-Fi Direct

features identified above which the third-party infringers used in a manner such

that all limitations of the asserted claims are met, and without which the third-party

infringers would have been unable to use and avail themselves of the intended

functionality of the accused products.

      277. TP-Link also knew that the accused products are operated in a manner

that practices each asserted claim of the ’821 Patent.

      278. The Wi-Fi Direct features are specially made and adapted to infringe


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the asserted claims of the ’821 Patent.

      279. The Wi-Fi Direct features are not a staple article or commodity of

commerce, and, because the functionality was designed to work with the TP-Link

Accused Products solely in a manner that is covered by the ’821 Patent, it has no

substantial non-infringing use. At least by SPV’s notice of TP-Link’s infringement,

based upon the foregoing facts, TP-Link knew of or was willfully blind to the fact

that such functionality was especially made and adapted for—and was in fact used

in—the accused products in a manner that is covered by the ’821 Patent.

      280. Based upon the foregoing facts, among other things, TP-Link has

contributorily infringed and continues to contributorily infringe the asserted claims

of the ’821 Patent under 35 U.S.C. § 271(c).

      281. Upon information and belief, TP-Links’ acts of infringement of the

’821 Patent continue since notice and since this complaint was filed and are,

therefore, carried out with knowledge of the asserted claims of the ’821 Patent and

how the TP-Link Accused Products infringe them. Rather than take a license to

the ’821 Patent, TP-Link’s ongoing infringing conduct reflects a business decision

to “efficiently infringe” the asserted claims and in doing so constitutes willful

infringement under the standard of Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S.

Ct. 1923 (2016).

      282. TP-Link’s acts of direct and indirect infringement have caused and



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continue to cause damage to SPV for which SPV is entitled to recover damages

sustained as a result of TP-Link’s infringing acts in an amount subject to proof at

trial, which, by law, cannot be less than a reasonable royalty, together with interest

and costs as fixed by this Court, pursuant to 35 U.S.C. § 284.

                             COUNT 5
               INFRINGEMENT OF U.S. PATENT NO. 9,357,441

      283. SPV realleges and incorporates by reference the allegations set forth

above as if restated verbatim here.

      284. SPV is the owner, by assignment, of U.S. Patent No. 9,357,441. The

’441 Patent was issued by the United States Patent and Trademark Office on May

31, 2016.

      285. As the owner of the ’441 Patent, SPV holds all substantial rights in

and under the ’441 Patent, including the right to grant licenses, exclude others, and

to enforce, sue, and recover damages for past and future infringement.

      286. The ’441 Patent is valid, enforceable and was duly issued in full

compliance with Title 35 of the United States Code.

      287. SPV alleges that TP-Link has infringed, and continues to infringe, the

’441 Patent.

      288. TP-Link makes, uses, offers to sell, sells, and/or imports products and

routers accessible on the TP-Link App, websites, and all other similar products

(“TP-Link Accused Products”) that infringe the ’441 Patent. These products

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include, without limitation, TP-Link Wi-Fi adaptors that support Wi-Fi Direct.

The Accused Products include at least the Archer T4U, Archer T5UH, Archer

T9UH, and TL-WN752N Wi-Fi adaptors that support Wi-Fi Direct.

      289. TP-Link has directly infringed at least claim 1 of the ’441 Patent by

using (including its own testing), making, selling, offering for sale, licensing,

and/or importing into the United States without authority the TP-Link Accused

Products.

      290. The TP-Link Accused Products are designed, manufactured, and

intended to be used in normal operation to practice the ’441 Patent and feature

functionality comprising the steps noted above.

      291. TP-Link has used and tested the TP-Link Accused Products in the

United States.

      292. TP-Link thus has infringed and continues to infringe the ’441 Patent.

      293. TP-Link’s activities were without authority of license under the ’441

Patent.

      294. TP-Link’s users, customers, agents and/or other third parties

(collectively, “third-party infringers”) infringed and continue to infringe the

asserted claims including under 35 U.S.C. § 271(a) by using the TP-Link Accused

Products according to their normal and intended use.

      295. TP-Link has, since at least as early as September 2019, known or been



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willfully blind to the fact that the third-party infringers’ use of the TP-Link

Accused Products directly infringes the ’441 Patent.

      296. TP-Link’s knowledge of the ’441 Patent, which covers operating the

TP-Link Accused Products in their intended manner such that all limitations of the

asserted claims of the ’441 Patent are met, extends to its knowledge that the third-

party infringers’ use of the TP-Link Accused Products directly infringes the ’441

Patent, or, at the very least, rendered TP-Link willfully blind to such infringement.

      297. With knowledge of or willful blindness to the fact that the third-party

infringers’ use of the TP-Link Accused Products in their intended manner such that

all limitations of the asserted claims of the ’441 Patent are met directly infringes

the ’441 Patent, TP-Link has actively encouraged the third-party infringers to

directly infringe the ’441 Patent by making, using, testing, selling, offering for

sale, importing and/or licensing the accused products by, for example: marketing

TP-Link’s Devices Wi-Fi Direct capabilities to the third-party infringers;

supporting and managing the third-party infringers’ use of the TP- Wi-Fi Direct

functionalities; and providing technical assistance to the third-party infringers

during their continued use of the TP-Link Accused Products such as by, for

example, publishing instructional information on the TP-Link websites (including,

without limitation, the knowledge center, instructional videos and on the TP-Link

branded website) directing and encouraging third-party infringers how to make and



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use the Wi-Fi Direct features of the TP-Link Accused Products.

      298. TP-Link induces the third-party infringers to infringe the asserted

claims of the ’441 Patent by directing or encouraging them to operate the TP-Link

Accused Products which satisfy all limitations of the asserted claims of the ’441

Patent. For example, TP-Link advertises and promotes the Wi-Fi Direct features of

the TP-Link Accused Products and encourages the third-party infringers to operate

them in an infringing manner. TP-Link further provides technical assistance

directing and instructing third parties how to operate the TP-Link Accused

Products by, for example, publishing instructional materials, videos, knowledge

center resources, how-to guides, troubleshooting, manuals, and user guides.

      299. In response, the third-party infringers acquire and operate the TP-Link

Accused Products in an infringing manner.

      300. TP-Link specifically intends to induce, and did induce, the third-party

infringers to infringe the asserted claims of the ’441 Patent, and TP-Link knew of

or was willfully blind to such infringement. TP-Link advised, encouraged, and/or

aided the third-party infringers to engage in direct infringement, including through

its encouragement, advice, and assistance to the third-party infringers to use the

Wi-Fi Direct features of the TP-Link Accused Products. Having known or been

willfully blind to the fact that the third-party infringers’ use of the TP-Link

Accused Products in their intended manner such that all limitations of asserted



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claims of the ’441 Patent were met directly infringed the ’441 Patent, TP-Link,

upon information and belief, actively encouraged and induced the third-party

infringers to directly infringe the ’441 Patent by making, using, testing, selling,

offering for sale, importing and/or licensing said TP-Link Accused Products, and

by, for example: marketing the TP-Link Accused Products to the third-party

infringers; supporting and managing the third-party infringers’ use of the TP-Link

Accused Products; and providing technical assistance to the third-party infringers

during their continued use of the TP-Link Accused Products by, for example,

publishing the following instructional information directing third-party infringers

how to make and use the TP-Link Accused Products to infringe the asserted claims

of the ’441 Patent:

           https://www.tp-link.com/us/support/download/;

           https://www.tp-link.com/us/support/download/archer-t4u/;

           https://static.tp-

             link.com/2020/202010/20201019/Archer%20T4U(EU&US)_3.0_data

             sheet.pdf;

           https://www.tp-link.com/us/support/download/archer-t4uh/;

           https://www.tp-link.com/us/support/download/archer-t9uh/;

           https://www.tp-link.com/us/support/download/tl-wn725n/;

           https://www.tp-link.com/us/learning-center/;


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          https://community.tp-link.com/us/home/kb;

          https://www.tp-link.com/us/support/faq/;

          https://www.tp-link.com/us/support/setup-video/; and

          www.tp-link.com help documentation, among others.

      301. Based upon the foregoing facts, among other things, TP-Link has

induced and continues to induce infringement of the asserted claims of the ’441

Patent under 35 U.S.C. § 271(b).

      302. TP-Link has sold, provided and/or licensed to the third-party

infringers and continues to sell, provide and/or license the TP-Link Accused

Products that are especially made and adapted—and specifically intended by TP-

Link—to be used as components and material parts of the inventions covered by

the ’441 Patent. For example, the TP-Link Accused Products include Wi-Fi Direct

features identified above which the third-party infringers used in a manner such

that all limitations of the asserted claims are met, and without which the third-party

infringers would have been unable to use and avail themselves of the intended

functionality of the accused products.

      303. TP-Link also knew that the accused products are operated in a manner

that practices each asserted claim of the ’441 Patent.

      304. The wireless features are specially made and adapted to infringe the

asserted claims of the ’441 Patent.


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      305. The Wi-Fi Direct features are not a staple article or commodity of

commerce, and, because the functionality was designed to work with the TP-Link

Accused Products solely in a manner that is covered by the ’441 Patent, it has no

substantial non-infringing use. At least by SPV’s notice of TP-Link’s infringement,

based upon the foregoing facts, TP-Link knew of or was willfully blind to the fact

that such Wi-Fi Direct functionality was especially made and adapted for—and

was in fact used in—the accused products in a manner that is covered by the ’441

Patent.

      306. Based upon the foregoing facts, among other things, TP-Link has

contributorily infringed and continues to contributorily infringe the asserted claims

of the ’441 Patent under 35 U.S.C. § 271(c).

      307. Upon information and belief, TP-Links’ acts of infringement of the

’441 Patent continue since notice and since this complaint was filed and are,

therefore, carried out with knowledge of the asserted claims of the ’441 Patent and

how the TP-Link Accused Products infringe them. Rather than take a license to

the ’441 Patent, TP-Link’s ongoing infringing conduct reflects a business decision

to “efficiently infringe” the asserted claims and in doing so constitutes willful

infringement under the standard of Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S.

Ct. 1923 (2016).

      308. TP-Link’s acts of direct and indirect infringement have caused and



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continue to cause damage to SPV for which SPV is entitled to recover damages

sustained as a result of TP-Link’s infringing acts in an amount subject to proof at

trial, which, by law, cannot be less than a reasonable royalty, together with interest

and costs as fixed by this Court, pursuant to 35 U.S.C. § 284.

                             COUNT 6
               INFRINGEMENT OF U.S. PATENT NO. 10,039,144

      309. SPV realleges and incorporates by reference the allegations set forth

above as if restated verbatim here.

      310. SPV is the owner, by assignment, of U.S. Patent No. 10,039,144. The

’144 Patent was issued by the United States Patent and Trademark Office on July

31, 2018.

      311. As the owner of the ’144 Patent, SPV holds all substantial rights in

and under the ’144 Patent, including the right to grant licenses, exclude others, and

to enforce, sue, and recover damages for past and future infringement.

      312. The ’144 Patent is valid, enforceable and was duly issued in full

compliance with Title 35 of the United States Code.

      313. SPV alleges that TP-Link has infringed, and continues to infringe, the

’144 Patent.

      314. TP-Link makes, uses, offers to sell, sells, and/or imports products and

routers accessible on the TP-Link App, websites, and all other similar products

(“TP-Link Accused Products”) that infringe the ’144 Patent. These products

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include, without limitation, TP-Link Wi-Fi adaptors that support Wi-Fi Direct.

The Accused Products include at least the Archer T4U, Archer T5UH, Archer

T9UH, and TL-WN752N Wi-Fi adaptors that support Wi-Fi Direct.

      315. TP-Link has directly infringed at least claim 1 of the ’144 Patent by

using (including its own testing), making, selling, offering for sale, licensing,

and/or importing into the United States without authority the TP-Link Accused

Products.

      316. The TP-Link Accused Products are designed, manufactured, and

intended to be used in normal operation to practice the ’144 Patent and feature

functionality comprising the steps noted above.

      317. TP-Link has used and tested the TP-Link Accused Products in the

United States.

      318. TP-Link thus has infringed and continues to infringe the ’144 Patent.

      319. TP-Link’s activities were without authority of license under the ’144

Patent.

      320. TP-Link’s users, customers, agents and/or other third parties

(collectively, “third-party infringers”) infringed and continue to infringe the

asserted claims including under 35 U.S.C. § 271(a) by using the TP-Link Accused

Products according to their normal and intended use.

      321. TP-Link has, since at least as early as September 2019, known or been



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willfully blind to the fact that the third-party infringers’ use of the TP-Link

Accused Products directly infringes the ’144 Patent.

      322. TP-Link’s knowledge of the ’144 Patent, which covers operating the

TP-Link Accused Products in their intended manner such that all limitations of the

asserted claims of the ’144 Patent are met, extends to its knowledge that the third-

party infringers’ use of the TP-Link Accused Products directly infringes the ’144

Patent, or, at the very least, rendered TP-Link willfully blind to such infringement.

      323. With knowledge of or willful blindness to the fact that the third-party

infringers’ use of the TP-Link Accused Products in their intended manner such that

all limitations of the asserted claims of the ’144 Patent are met directly infringes

the ’144 Patent, TP-Link has actively encouraged the third-party infringers to

directly infringe the ’144 Patent by making, using, testing, selling, offering for

sale, importing and/or licensing the accused products by, for example: marketing

TP-Link’s Devices Wi-Fi Direct capabilities to the third-party infringers;

supporting and managing the third-party infringers’ use of the TP-Link Wi-Fi

Direct functionalities; and providing technical assistance to the third-party

infringers during their continued use of the TP-Link Accused Products such as by,

for example, publishing instructional information on the TP-Link websites

(including, without limitation, the knowledge center, instructional videos and on

the TP-Link branded website) directing and encouraging third-party infringers how



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to make and use the Wi-Fi Direct features of the TP-Link Accused Products.

      324. TP-Link induces the third-party infringers to infringe the asserted

claims of the ’441 Patent by directing or encouraging them to operate the TP-Link

Accused Products which satisfy all limitations of the asserted claims of the ’144

Patent. For example, TP-Link advertises and promotes the Wi-Fi Direct features of

the TP-Link Accused Products and encourages the third-party infringers to operate

them in an infringing manner. TP-Link further provides technical assistance

directing and instructing third parties how to operate the TP-Link Accused

Products by, for example, publishing instructional materials, videos, knowledge

center resources, how-to guides, troubleshooting, manuals, and user guides.

      325. In response, the third-party infringers acquire and operate the TP-Link

Accused Products in an infringing manner.

      326. TP-Link specifically intends to induce, and did induce, the third-party

infringers to infringe the asserted claims of the ’144 Patent, and TP-Link knew of

or was willfully blind to such infringement. TP-Link advised, encouraged, and/or

aided the third-party infringers to engage in direct infringement, including through

its encouragement, advice, and assistance to the third-party infringers to use the

wireless features of the TP-Link Accused Products. Having known or been

willfully blind to the fact that the third-party infringers’ use of the TP-Link

Accused Products in their intended manner such that all limitations of asserted



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claims of the ’144 Patent were met directly infringed the ’144 Patent, TP-Link,

upon information and belief, actively encouraged and induced the third-party

infringers to directly infringe the ’144 Patent by making, using, testing, selling,

offering for sale, importing and/or licensing said TP-Link Accused Products, and

by, for example: marketing the TP-Link Accused Products to the third-party

infringers; supporting and managing the third-party infringers’ use of the TP-Link

Accused Products; and providing technical assistance to the third-party infringers

during their continued use of the TP-Link Accused Products by, for example,

publishing the following instructional information directing third-party infringers

how to make and use the TP-Link Accused Products to infringe the asserted claims

of the ’144 Patent:

           https://www.tp-link.com/us/support/download/;

           https://www.tp-link.com/us/support/download/archer-t4u/;

           https://static.tp-

             link.com/2020/202010/20201019/Archer%20T4U(EU&US)_3.0_data

             sheet.pdf;

           https://www.tp-link.com/us/support/download/archer-t4uh/;

           https://www.tp-link.com/us/support/download/archer-t9uh/;

           https://www.tp-link.com/us/support/download/tl-wn725n/;

           https://www.tp-link.com/us/learning-center/;


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          https://community.tp-link.com/us/home/kb;

          https://www.tp-link.com/us/support/faq/;

          https://www.tp-link.com/us/support/setup-video/; and

          www.tp-link.com help documentation, among others.

      327. Based upon the foregoing facts, among other things, TP-Link has

induced and continues to induce infringement of the asserted claims of the ’144

Patent under 35 U.S.C. § 271(b).

      328. TP-Link has sold, provided and/or licensed to the third-party

infringers and continues to sell, provide and/or license the TP-Link Accused

Products that are especially made and adapted—and specifically intended by TP-

Link—to be used as components and material parts of the inventions covered by

the ’144 Patent. For example, the TP-Link Accused Products include Wi-Fi Direct

features identified above which the third-party infringers used in a manner such

that all limitations of the asserted claims are met, and without which the third-party

infringers would have been unable to use and avail themselves of the intended

functionality of the accused products.

      329. TP-Link also knew that the accused products are operated in a manner

that practices each asserted claim of the ’144 Patent.

      330. The wireless features are specially made and adapted to infringe the

asserted claims of the ’144 Patent.


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      331. The Wi-Fi Direct features are not a staple article or commodity of

commerce, and, because the functionality was designed to work with the TP-Link

Accused Products solely in a manner that is covered by the ’144 Patent, it has no

substantial non-infringing use. At least by SPV’s notice of TP-Link’s infringement,

based upon the foregoing facts, TP-Link knew of or was willfully blind to the fact

that such functionality was especially made and adapted for—and was in fact used

in—the accused products in a manner that is covered by the ’144 Patent.

      332. Based upon the foregoing facts, among other things, TP-Link has

contributorily infringed and continues to contributorily infringe the asserted claims

of the ’144 Patent under 35 U.S.C. § 271(c).

      333. Upon information and belief, TP-Links’ acts of infringement of the

’144 Patent continue since notice and since this complaint was filed and are,

therefore, carried out with knowledge of the asserted claims of the ’144 Patent and

how the TP-Link Accused Products infringe them. Rather than take a license to

the ’144 Patent, TP-Link’s ongoing infringing conduct reflects a business decision

to “efficiently infringe” the asserted claims and in doing so constitutes willful

infringement under the standard of Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S.

Ct. 1923 (2016).

      334. TP-Link’s acts of direct and indirect infringement have caused and

continue to cause damage to SPV for which SPV is entitled to recover damages



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sustained as a result of TP-Link’s infringing acts in an amount subject to proof at

trial, which, by law, cannot be less than a reasonable royalty, together with interest

and costs as fixed by this Court, pursuant to 35 U.S.C. § 284.

                                        NOTICE
      335. SPV does not currently distribute, sell, offer for sale, or make

products embodying the Asserted Patents.

      336. TP-Link had notice of infringement of the ’512, ’531, ’384, ’871, ’441

and ’144 Patents prior to filing of this complaint.

      337. SPV has complied with all notice requirements of 35 U.S.C. § 287.

           NOTICE OF REQUIREMENT OF LITIGATION HOLD
      338. TP-Link is hereby notified it is legally obligated to locate, preserve,

and maintain all records, notes, drawings, documents, data, communications,

materials, electronic recordings, audio/video/photographic recordings, and digital

files, including edited and unedited or “raw” source material, and other information

and tangible things that TP-Link knows, or reasonably should know, may be

relevant to actual or potential claims, counterclaims, defenses, and/or damages by

any party or potential party in this lawsuit, whether created or residing in hard copy

form or in the form of electronically stored information (hereafter collectively

referred to as “Potential Evidence”).

      339. As used above, the phrase “electronically stored information” includes

without limitation: computer files (and file fragments), e-mail (both sent and

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received, whether internally or externally), information concerning e-mail

(including but not limited to logs of e-mail history and usage, header information,

and deleted but recoverable e-mails), text files (including drafts, revisions, and

active or deleted word processing documents), instant messages, audio recordings

and files, video footage and files, audio files, photographic footage and files,

spreadsheets, databases, calendars, telephone logs, contact manager information,

internet usage files, and all other information created, received, or maintained on

any and all electronic and/or digital forms, sources and media, including, without

limitation, any and all hard disks, removable media, peripheral computer or

electronic storage devices, laptop computers, mobile phones, personal data

assistant devices, Blackberry devices, iPhones, video cameras and still cameras,

and any and all other locations where electronic data is stored. These sources may

also include any personal electronic, digital, and storage devices of any and all of

TP-Link’s agents, resellers, distributors or employees if TP-Link’s electronically

stored information resides there.

      340. TP-Link is hereby further notified and forewarned that any alteration,

destruction, negligent loss, or unavailability, by act or omission, of any Potential

Evidence may result in damages or a legal presumption by the Court and/or jury

that the Potential Evidence is not favorable to TP-Link’s claims and/or defenses.

To avoid such a result, TP-Link’s preservation duties include, but are not limited



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to, the requirement that TP-Link immediately notify its agents, distributors, and

employees to halt and/or supervise the auto-delete functions of TP-Link’s

electronic systems and refrain from deleting Potential Evidence, either manually or

through a policy of periodic deletion.

                                 JURY DEMAND
SPV hereby demands a trial by jury on all claims, issues, and damages so triable.

                             PRAYER FOR RELIEF
      SPV prays for the following relief:

         a. That TP-Link be summoned to appear and answer;

         b. That the Court enter judgment that TP-Link has infringed the ’512,

             ’531, ’384, ’871, ’441 and ’144 Patents.

         c. That the Court grant SPV judgment against TP-Link for all actual,

             consequential, special, punitive, increased, and/or statutory damages,

             including, if necessary, an accounting of all damages; pre- and post-

             judgment interest as allowed by law; and reasonable attorney’s fees,

             costs, and expenses incurred in this action;

         d. That TP-Link’s infringement be found to have been willful;

         e. That this case be found to be exceptional under 35 U.S.C. § 285; and

         f. That SPV be granted such other and further relief as the Court may

             deem just and proper under the circumstances.



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Dated: December 9, 2022             Respectfully submitted,

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